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IN THE CIRCUIT COURT
THIRD JUDICIAL CIRCUIT JUN 18 2003
MADISON COUNTY, ILLINOIS yer of CIRCUIT COURT #10
THIRD JUDICIAL CIRCUIT

MADISON COUNTY, ILUNOIS
ILLINOIS MUNICIPAL RETIREMENT FUND,

Plaintiff,

Cause No. 04 - L-7 loQ-
2s WPS

VS.

CITIGROUP, ING.” SALOMON SMITH
BARNEY INC! J.P. MORGAN SECURITIES
INC.” 1.P. MORGAN CHASE & CO» BANK OF
AMERICA CORPY¥ BANC OF AMERICA
SECURITIES LLC’ ABN AMRO
INCORPORATED;* DEUTSCHE BANK AG,”
DEUTSCHE BANC ALEX. BROWN INC.“
LEHMAN BROTHERS HOLDINGS INC,”
LEHMAN BROTHERS INCY CREDIT SUISSE
GROUP; CREDIT SUISSE FIRST BOSTON
CORP.’GOLDMAN SACHS GROUP, INC.”
GOLDMAN SACHS & CO” UBS WARBURG
LLCYNATIONSBANC MONTGOMERY
SECURITIES LLC and ARTHUR ANDERSEN

Defendants.

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AINT FOR VI OF THE SECURITIES ACT OF 1933
Comes now plaintiff, ILLINOIS MUNICIPAL RETIREMENT FUND, by and through its

undersigned counsel and for its Compluint states as follows:

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SUMMARY OF ACTION

1.  Thisis asecwities suit involving WorldCom, Inc. (“WorldCom or the "Company”),!
naming as defendants WorldCom's commercial/investment bankers and its accountants (collectively,
“defendants") for violations of the Securities Act of 1933 ("1933 Act”), arising out of plaintiffs
purchascs of WorldCom debt securities (the "WorldCom Bonds") first sold to public investors in
WorldCom's 8/98, 5/00, 12/00 and 5/01 bund offerings (the “Offerings”). This action involves solely
strict liability and negligence claims.

2. WorldCom and its bankers ruised billions of dollars in several offerings of
investment-grade rated bonds in 98, 00 and 01 by means of Prospectuses and Registration Statements

filed with the U.S. Securities and Exchange Commission ("SEC") which contained false statements:

Effective Date of Registration Face Amount of
Statement/Offering Circular Notes Offered
8/7/98 § 6.1] billion
3/12/00 $ 3.0 billion
12/14/00* § 2.0 billion*
5/9/01 $11.8 biJlion

* Exempt from registered offering.

3. Plaintiff Mlinois Municipal Rehrement Fund ("IMRF”) is an instrumentality of local
government in the State of Ilinois and was created in 1939 by the Illinois General Asscmbly to
provide employees of local governments and school districts in Hlinois (with the exception of the
City of Chicago and Cook County) with a sound and efficient system for the payment of retirement,
disability, and death benefits. IMIRF scrves 2,800 einployers and has more than $14 billion in assets.
As of December 2002, IMRF counted 167,776 active members, 73,360 retired members, and 2,853
local units of government in Ilinois. IMRF made purchases of WorldCom Bonds as described in
Exhibit A without knowledge of the falsity of Registration Statements and Prospectuses by which

the Bunds were issued and has been damaged thereby.

 

WorldCom is in bankruptcy and cannot, abscnt permission of the bankmuptcy court, be sued.

2 The 8/98 and 5/00 offerings each included $1.5 billion in notes that matured in O1, prior to
WorldCom's admissions of false financial statements, and are not part of this action.

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4. WorldCom is now bankrupt and the bonds are in default. WorldCom subsequently
admitted, in 6/02, that its financial results contained in the 5/0! Registration Statement and
Prospectus were overstated by $3.85 billion. Then, in 7/02, WorldCom admitted that its financial
results included in the 5/00. 12/00 and 5/0) Registration Statements were overstated by an additional
$3.83 billion. Then, in 9/02, WorldCom revealed an additional $2 billion in camings misstatements
due to accounting entries going back to 98, impacting the statements made in the Registration
Statement related to the 8/98 offering. On 9/26/02, David Myers ("Myers"), the former conuoller
of WorldCom, pleaded guilty to securities fraud charges, admitting be was instructed to falsify
records in what became the largest corporate accounting scandal in U.S. history. "I was instructed
on a quarterly basis by senior management to ensure that entries were made to falsify WorldCom's
books to reduce WorldCom's reported actual costs and therefore ta increase WorldCom's reported
carnings,” Myers told Judge Richard Casey. The complaint against WorldCom's CFO and Controller
(Myers) alleged fraud in connection with the saic of securities, false statements in annual and
quarterly SEC reports, false statements to auditors, and false books and records. News reports have
disclosed other practices which indicate the falsity of statements madc in the
Prospectuses/Registration Statements for all the Offerings, including WorldCom's practice of douhle
billing customers and taking excessive merger-rclated charges to inflate subsequent results.
WorldCom will also record write-downs of $50 billion to reflect impaired assets which have been
on the Company's balance sheet at inflated values for years. Recent news reports indicate that
WorldCom's udmitted accounting misstatements will total $11 billion.

5. The Registration Statements for the Offerings were also false and misleading due to
the false statements therein about WorldCom's business, acquisitions and the reasons for its
purported favorable results. The Registration Statements also concealed the fact that certain of the
underwriters had allocated “hot" IPO shares to WorldCom executives in exchange for the right to
underwrite the Offerings and receive millions of dollurs in fees. 1t has now been revealed that onc
of WorldCom's underwriters, CitiGroup, had loaned hundreds of millions of dollars to an entity

controlled by WorldCom's CEO. The loans were secured by WorldCom stock, a fact not disclosed
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in the offering documents. This provided additional motive for CitiGroup to help WorldCom
conccal its problems.
JURISDICTION AND VENUE

6. The claims alleged hercin anse under §§}1 and 12(a)(2) of the Securities Act of 1933
(the "1933 Act"), 15 U.S.C. §§77k and 771(a)(2). Jurisdiction is conferred by §22 of the 1933 Act
and veuuc is proper pursuant to §22 of the 1933 Act. In commection with the Offciings, defendants
used the instrumentalities of interstate commerce and the U.S. mails. The statute (§22 of the 1933
Act) explicitly states that "[tJhce district courts of the United States ... shall have jurisdiction ...
concurrent with State and Territorial courts" of actions filed under the 1933 Act. The statute also
States that "[e]xcept as provided in section 16(c), no case arising under this title and brought in any
State court of competent jurisdiction shall be removed to any court in the United Statcs." Section
16(c) refers to “covered class actions,” which are defined as Jawsuits brought as class actions or
brought on behalf of spurc Uban 50 persons asserting claims under stale or common law, This is an
individual action asserting federal law claims. Thus, it does not fal! within the definition of a
“covered class action" under §16(c) and therefore is not removable to federal court under the
Securities Litigation Uniform Standards Act of 1998. See Jn re Waste Mgmt. Inc. Sec. Litig., 194
F. Supp. 2d 590 (S.D. Tex. 2002), attached as Exhibit B.

7. The violations of law complained of herein occurred in part in the State of Hlinois,
including the dissemination of materially false and misleading statements complained of herein into
Minois. WorldCom and certain of the bank defendants conduct business mn Dlinois.

THE PARTIES

8. IMRF purchased WorldCom Bonds, all of which were issued pursuant to the 8/98,
5/00, 12/00 and 5/01 Registration Statements, and has suffered damages as described in Exhibit A.

9. WorldCom is a corporation which was the issuer of the WorldCom Bonds issucd
pursuant to the 8/98, 5/60, 12/00 and 5/01 Registration Statements. WorldCom has filed for
bankruptcy and is not named as a defendant.

10. Defendant CitiGroup, Inc. is a large integrated financial! services institution that

through subsidiaries und divisions (such as defendant Salomon Smith Barney, Inc. (collectively

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"CitiGroup”)) provides commercial and investment banking services, commercial loans to corporate
entities, and acts as underwriter in the sale of corporate securities. CitiGroup was an underwriter of
the WorldCom Bonds sold in 8/98, 5/00 and 5/01.

11. DefendantJ.P. Morgan Chase & Co. is an integrated financial services institution that
through subsidiaries and divisions (such as defendant J.P. Morgan Securitics, inc. (callectively "J.P.
Morgan")) provides commercial and investment banking services and advisory services, including
acting as underwriter in the sale of corporate securities. J-P. Morgan was an underwriter of the
WorldCom Bonds sold in 8/98, 5/00, 12/00 and 5/01.

12. Defendant Bank of America Corp. is a large integrated financial services institution
that through its controlled subsidiaries and divisions (such as defendant Banc of America Securities
LLC (collectively "Bank America’)) provides commercial and investment banking services,
commercial loans to corporate entities, and acts as underwriter in the sale of corporate securities.
Bank America was an underwnter of the WorldCom Bonds sold in 5/00 and 5/1.

13. Defendant ABN/AMRO Inc. is a large integrated financial services institution that
provides commercial] and investment banking services, commercial loans to corporate entities, and
acts as underwriter in the sale of corporate securities. ABN/AMRO was an underwriter of the
WorldCom Bonds sold in 5/01.

14. Defendant Deutsche Bank AG is a large integrated financial services institution that
through its controlled subsidiaries and divisions (such as defendant Deutsche Banc Alex. Brown Inc.
(collectively "Deutsche Bank")) provides commercial and investment banking services, commercial
loans to corporate entities, and acts as underwriter in the sale of corporate securities. Deutsche Bank
was an underwriter of the WorldCom Bonds sold in 5/00 and 5/0}.

15. Defendant Lehman Brothers Holdings Inc. is a large integrated financial services
institution that through its controlled subsidiaries and divisions (such as defendant Lehman Brothers
Inc. (collectively “Lehman Brothers")) provides commercial and investment banking services,
commercial loans to corporate entities, and acts as underwriter in the sale of corporate securitics.

Lehman Brothers was an underwriter of the WorldCom Bonds sold in 8/98 and 5/00.
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16. Defendant Credit Suisse Group is a large integrated financial serviccs institution that
through its controlled subsidiaries and divisions (such as defendant Credit Suisse First Boston Corp.
(collectively "Credit Suisse”)) provides commercial and investment banking services, commercial
loans to corporate entities. and acts as underwniter in the sale of corporate securities. Credit Suisse
was an underwriter of the WorldCom Bonds sold in 8/98 and 5/00.

17. Defendant Goldman Sachs Group, Inc. Is a large integrated financlal services
institution that through its controlled subsidiarics and divisions (such as defendant Goldman Sachs
& Co. (collectively "Goldman Sachs")) provides commercial and investment banking services,
commercial loans to corporate entities, and acts as underwriter in the sale of corporate secuntes.
Goldman Sachs was an underwriter of the WorldCom Bonds sold in 5/00.

18. Defendant UBS Warburg LLC is a large integrated financial services institution that
through ils controled subsidiaries and divisions (collectively “UBS Warburg") provides commercial
and investment banking services, commercial loans to corporate enuties, and acts as underwriter in
the sale of corporate securities. UBS Warburg was an underwriter of the WorldCom Bonds sold in
5/00.

19. Defendant NationsBanc Montgomery Securities LIC is an integrated financial
services institution that through subsidiaries and divisions (collectively "NationsBanc”) provides
commercial and investment banking services and advisory services, including acting as underwriter
in the sale of corporate securities. NationsBanc wus an underwriter of the WorldCom Bonds sold
in 8/98. Subsequent to the 8/98 offering, NationsBanc merged into Bank of America.

20. Collectively defendants named in 4910-19 are referred to as the "Underwriter
Defendants." Each bank is sued only for bond offerings in which it participated as an underwriter.
Unbeknownst to investors, as described in 146-150, certain of the banks had given WorldCom
executives shares of IPO stock in other companies the banks were underwriting in exchange for
underwriter business on the very offerings alleged herein.

21. Defendant Arthur Andersen LLP ("Andersen") was WorldCom's supposedly

independent accountant and provided accounting services for WorldCom prior to and in connection
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with the 8/98, 5/00 and 5/01 offerings, which included “clean” or “unqualified” opinions on
WorldCom's 12/31/98, 12/31/99 and 12/31/00 financial statements.
THE 8/98, 5/00, 12/00 AND 541 OFFERINGS
22. During 97-99, WorldCom, under the leadership of its founder and CEO, Bernard J.
Ebhers (“Ebbers"), expanded very rapidly into a telecommunications piant with reported revenue,

net income and earnings per share ("EPS") growth as shown below:

25 26 27 28 99
Revenue $3.70B $4.49B $7.35B $17.678B —- $33.341B
Net income $266M $414M* $357M $1.085B* $3.865B
EPS $0.43 $1.01* $0.40 $0.85* $1.38

* Excludes acquisition-related charges.

This growth was achieved largely by WorldCoin making over 70 acquisitions using its common
stock — including the acquisition of MFS Communications Co., UUNet Inc., CompuServe, MCI
Communications, SkyTel Communications and CAJ Wireless.

23. By early 98, WorldCom, in fact. was facing cash flow/iquidity problems. Because
most of WorldCom's reported profits were "cash-less,” i.e., were due to accounting manipulations
like secretly drawing down on excess reserves created in connection with previous acquisitions,
lengthening the amortization period of assets to reduce current depreciation charges, improperly
capitalizing operating costs and the like, WorldCom's opcrations were not generating sufficient cash
to support the Company's expanding operations. WorldCom thus heavily relied on borrowings from
the so-called commercial paper market, a market it had access to only because WorldCom's reported
assets, profitability and operating cash flow entitled it to a coveted “investment-grade" credit rating
— arating reserved only for the world's most creditworthy corporations.

The 8/98 Offering

24. Asearlyas98, WorldCom was already falsifying its financial results through a variety
of accounting Wicks which madc WorldCom look much more profitable than it really was, whilc
artificially inflating WorldCom's reported assets. net worth and operating cash flow. WorldCom
artificially inflated its revenues and carmings by improperly booking sales, improperly capitalizing

software and "line" costs which were ordinary operating expenses, failing to write down assets

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(goodwill) due to the impaired value of earlier acquisitions, improperly classifying assets of
companies it acquired to lengthen their amortization periods, taking excessive "one-time" acquisition
charges that it later secretly used to boost its “operating” earnings, failing to properly and timely
account for overcharges and by improperly failing to write off receivables j1 could not collect. These
accounting tricks overstated WorldCom's reported assets, operating earnings, cash flow and EPS.

25. By Spring 98, WorldCom, WorldCom's top insiders, J.P. Morgan, CinGroup, Lehman
Brothers, Credit Suisse, NationsBanc, aud Andersen were planning the 8/98 offering. As part of the
process of preparing the 8/98 Registration Statement, these Underwriter Defendants purportedly
conducted an adequate and reasonable investigation into the business Operations of WoddCom, an
undertaking known as a “due diligence” investigation, but in fact, did not do so. During the course
of their "due diligence," these banks had continual access to confidential corporate information
concerning WorldCom's business, financial condition, internal controls and its future business plans
and prospects and learned of or should have leamed of the falsification of WorldCom's financial
condition and results and the other false and misleading statements in the 8/98 Registration
Statement. Also, as a result of their status as standby lenders for WorldCom on the commercial
paper back-up facilities, these banks had access to WorldCom's tne financial condition, and knew
or should have known it was much worse than publicly presented, which is why the banks wanted
to avoid having WorldCom draw down on those ercdit facilities.

26. The data below shows the bonds sold in the 8/98 offering and the monies received

by WorldCom and the underwriter banks:

Public Offering Underwriting Proceeds to

Price Fees WorldCom
Note Due 200] $1,498 440,000 $ 6,000,000 $1,492,440,000
Note Due 2003 $ 599,868,000 $ 3,600,000 $ 596,268,000
Note Due 2005 $2,245,455,000 $14,062,500 $2,23 1,392,500
Note Due 2008 $1,733,637,500 $15,312,500 $1.718,325,000
TOTALS: $6,077,400,500 $38,975,000 $6,038,425,500

27. To effectuate the 8/98 offering, WorldCom filed a Registration Statement with the
SEC which became effective on 8/7/98. That 8/98 Registration Statement contained materially false

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statements and material omissions, and included WorldCom's false financial resuits for the quarters
ended 3/31/98 and 6/30/98. These financial statements artificially inflated WorldCom's assets, net
income, EPS and cash flows from operations — and associated financial ratios, including its ratio of
eamings to fixed charges — by using the tricks detailed in 1793-132.

28. Because these 8/98 bonds would be sold for the most part to sophisticated
instituvonal] investors, it was necessury for such a bond offering to take place for WorldCom to
appear to have sufficiently large assets and eamings power to be able to pay the huge interest
payments that would be due on these honds, and that WorldCom's assets and eamings power were
sufficient to retice the bonds when they became duc. Maintaining WorldCom's investment-grade
credit rating was absolutely indispensable to successfully completing the bond offering. Thus,
WorldCom's financial position and results at 3/31/08 and 6/30/98 as presented in the 8/98
Registration Statement appeared to be very strong and consistent with its investment-grade credil

raling, as set forth below:

Quarter Ended
3/31/98
Total assets $ 25.9 billion
Revenue $ 2.3 billion
Operating income $426 million*t
EBITDA $725 million
Ratio of earnings to fixed charges ‘
as of 12/31/97: 2.09:1

* Excluding non-recurring charges

29. TheRegistration Statement presented WorldCom as having over $25 billion in assets,
and as being profitable on a continuing basis at 3/3 1/98. The Registration Statement also included
the Company's 6/30/98 results:

SECOND QUARTER EARNINGS. On July 23, 1998, WorldCom reported
revenues for the three months ended Junc 30, 1998 of $2.6 billion, a 45 percent
increase over revenues of $1.8 billion for the same period in 1997. Net income for
the three months ended June 30, 1998 was $227.5 million, a 411 percent increase
over net income before extraordinary items of $44.5 million for the same period in
1997, Prior year results have been rcstated to include the effects of subsequent

 

3 EBITDA represents earnings before interest, tax, depreciation and amortization. It is
considered a superior measure of profitability because it excludes non-cash operating expenses. The
measure is extremely umportant to analysts when considering how strong a company’s results are.

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business combinations accounted for as pooling-of-interest transactions. On July 30,

1998, MCI reported certain financial results for the three months ended June 30,

1998. Certain portions of the MC] press release containing such information are

incorporated herein by reference to WorldCom's Current Report on Form 8-K dated

August 4, 1998 (filed August 4, 1998).

30. Based on WorldCom's apparent huge asset base and strong historical income, the
WorldCom Bonds as presented in the 8/98 Prospectus/Registration Statement filed with the SEC
appeared to be a very safe investment.

31. Because WorldCom's intention to acquire MC] had been announced in 10/97, the 8/98
Registration Statement contained “pro forma” financial statements showing historical results as if
the businesses of WorldCom and MCT had been combined. These results showed:

Unaudited Pro Forma Condensed Combined Balance Sheet

As of 3/31/98
(in millions)
WorldCom
Pro Forma
Combined
Current assets § 7,31]
Property, plant & equipment, net 18,976
Goodwill & PCS licences, net 45,41}
Other assets 5,271
Total Assets $ 76,969

Unaudited Pro Forma Condensed Combined Statement of Operations
For the Three Months Ended 3/31/98
(in millions, except per share data)

WorldCom

Pro Forma

Combined
Revenues $ 7,434
Operating expenses:

Linc costs 3,826
Selling, gencral & administrative 1,982
Net income (loss) $ (352)

Eamings (loss) per share —
Basic § (0.18)
Diluted $ (0.18)

32. In fact, these resulis were false and misleading due to WorldCom's improper

accounting practices as described in J¥93-132. The Regiswarion Statement also represented that:
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WorldCom is one of the first major facilities-based telecommunications
companies with the capability to provide businesses with high quality local, long
distance, Internet, data and international communications services over its global
networks. With service to points throughout the nation and the world, WorldCom

provides telecommunications products and services including: switched and
dedicated long distance and local products, dedicated and dial-up Internet access,
rosaic cellular services, 800 services, calling cards, domestic and intemational private

lines, broadband data services, debit cards, conference calling, advanced billing

systems, enhanced fax and data connections, high speed data communications,

facilities management, local access to long distance companics, local access to
asynchronous transfer mode ("ATM") - based backbone service, web server hosting

and integration services and interconnection via Network Access Points ("NAPs")

to Intemet service providers ("ISPs").

33. In addition to availing themselves of virtually unbridled access to WorldCom's
internal corporate information, J.P. Morgan, CitiGroup, Lehman Brothers, Credit Suissc and
NationsBanc met with WorldCom's management, top executives and Andersen, and engaged in
"drafting scssions" prior to completing the 8/98 Registration Statement. During these sessions,
consensus was reached as to: (i) the strategy to best accomplish the 8/98 offering; (ii) the terms of
the 8/98 offering, including the price at which WorldCom Bonds would be sold; (iii) the language
to be used in the Registration Statement, (iv) what disclosures about WorldCom would be made in
the Registration Statement; and (v) whal responses would be made to the SEC in connection with
its review of the Registration Statement.

34. The Registration Statement for the 8/98 offering discussed WorldCom's business and
finances. The Registration Statement incorporated WorldCom's 10-Q for the quarter ended 3/31/98,
and the 8-Ks filed 7/23/98 and 8/6/98. WorldCom's tstQ 10-Q contained its financial stalements
for that quarter. The 7/23/98 8-K included the press release announcing WorldCom's financial
results for the quarter ending 6/30/98.

35. WorldCom's 7/23/98 8-K, which was incorporated by refcrence into the Registration
Statement, stated:

WorldCom, Inc. today reported second quarter revenues of $2.6] billion, a45 percent

increase over second quarter 1997 revenues of $1.80 billion. Prior year results

include the Brouvks Fiber merger, which was completed on January 29, 1998, and
accounted for as a pooling-of-interests transaction. Traffic for the second quarter
increased 39 percent over the previous year. Internal growth was particularly strong

across all sectors of communications services. Accelerating internal growth,

combined with the benefits of the CNS/ANS transactions for the ful! quarter,

contributed to the impressive year-over-year reported core revenue gains of 52
percenl. Ona pro forma basis, assuming the acquisitions of CNS and ANS occurred

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as of the beginning of the year for both periods — which is indicative of internal
growth — core communications services revenues increased 38 percent on industry
leading volume growth of 39 percent.

Reported net income for the second quarter 1998 was $228 million or $0.21
per common share compared with net income before cxtraordinary items of $44
million or $0.04 per common sharc in the second quarter of 1997.

Operating income for the second quartcr 1998 was $494.8 million — an

increase of 127 percent compared with $238.3 million on a reported basis for the
second quarter of 1997.

The improvement in operating income margins over the past year is due toa
significant improvement in year-over-year operating cash flow and the fixed level of
annual amortization. A more profitable mix of non-access bearing revenues

combined with the achievement of cost savings has driven the increase in EBITDA
margins.

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As a percent of revenues, EBITDA margin for the second quarter of 1998 was

32 percent and operating income 19 percent compared with 25 percent and 10

percent, respectively, for the prior year period. The improvement in operating

income is duc to the realization of merger synergies, an improving mix of higher

margin revenues, and the operating leverage related to the fixed quarterly level of

amortization expense.

36. Contrary to these statements, WorldCom did nat have all the capabilities represented
but was falsely portraying itself through various financial manipulations described in ¥¥93-132.
The 5/00 Offering

37. By late 99, WorldCom, WorldCom's top insiders, the banks, and Andersen were
planning the 5/00 offering. As part of the process of preparing the 5/00 Registration Statement, the
Underwriter Defendants purportedly conducted an adequate and reasonable investigation into the
business and operations of WorldCom, an undertaking known as a "due diligence" investigation, but
in fact, did not do so. During the course of their “due diligence,” the banks had continual access to
confidential corporate information concerning WorldCom's business, financial condition, internal
controls and its future business plans and prospects and learned of or should have leamed of the
falsification of WorldCom's financial condition and results and the other false and misleading

statements in the 5/00 Registration Statement. Also, as a result of their status as standby lenders for

WorldCom on the commercial paper back-up facilities, the banks had access to WorldCom's truce

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financial condition, and knew or should have known it was much worse than publicly presented,
which js why the banks wanted to avoid having WorldCom draw down on those credit facilites.

38. By the Spring of 00, WorldCom's liquidity was impatred and it needed to raise cash
to pay down its mounting commercial paper debt. On 5/12/00, WorldCom and its investment
bankers (J.P. Morgan, CitiGroup, Bank America, Deutsche Bank, Credit Suisse, Lehman Brothers,
Goldman Sachs und UBS Warburg) sold $3.5 billion in bonds — $1.0 billion of 7.875% notes due
2003, $1.25 billion of 8.0% notes due 2006, and $1.25 bilkion of 8.25% notes due 2010. The
investment bankers pocketed $15 million in fees trom the sale of these bonds, while WorldCom got
the cash it needed to pay off its commercial paper debt and restore its liquidity.

39. Asis the case with any large commercial paper borrower, WorldCom had in place
acommercial paper back-up credit facility, de., in WorldCom's case. a $12 billion unsecured lending
commitment from its banks (J.P. Morgan, CitiGroup, Bank America, Deutsche Bank and
ABN/AMRO), which permitted it to draw down on that facility to pay off its commercial paper debt
if necessary. However, this line had never been drawn down upon, enabling WorldCom's lending
banks to sit back and comfortably collect a commitinent fee of .25%, or approximately $25-$30
million per year, monies they pocketed without incurring any actual credit risk exposure to
WorldCom.

40. However, if WorldCom began to draw down on its commercial paper back-up facility,
this would put the banks very much at risk of a major loss, as they knew from their long association
with WorldCom and involvement in its financial and business affairs that WorldCom's actual
financial condition was far, far worse and much more highly leveraged and dangerous than had been
publicly disclosed. While the banks would have received interest payments on the loans had the
facility been drawn down upon, interest rates at that time were very low and commercial lending was
the least profitable part of these banks' operations. Thus, thesc interest rates could not possibly
adequately compensate the banks for the true credil risk they knew they would be taking in making
billions of dollars of loans to WorldCom.

41. | The data below shows the bonds sold in the 5/00 offering and the monies received

by WorldCom and the underwiiter banks:
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Public Offering Underwriting Proceeds To

Price Fees WorldCom
Floating Rate Notes $1,500,000,000 $ 2,250,000 $1,497,750,000*
7.875% Notes $ 995,410,000 $ 2,500,000 $ 992,910,000
8.000% Notes $1.236,687,500 $3 4.687,500 $1 232,000,000
8.250% Notes $1,.231,132,500 $5,625,000 $1,225 .487,500
Combined Totals $4,963,210,000 $15,062,500 $4,948, 147,500

42. — Inconnection with the 5/00 oftcring, WorldCom filed a Registration Statement with
the SEC which became effective on 5/12/00. That Registration Statement contained materially false
statements and material omissions, and included WorldCom's false financial statements for the year
ended 12/31/99 and the 1stQ 00. These financial statements artificially inflated WorldCom's assets,
net income, BPS and cash flows from operations — and associated financial ratios, including its ratio
of earnings to fixed charges. WorldCom artificially inflated its revenues and earnings by improperly
booking sales, improperly capitalizing ordinary operating costs, failing to write down assets
(goodwill) due to the impaired value of earlier acquisitions. improperly re-classifying assets of
companies it acquired to lengthen their amortization periods, taking excessjve "one-time" acquisttion
charges thal it later secretly used to boost its “operating” earnings, failing to timely record refunds
due customers and by improperly accounting for receivables it could not collect.

43. Bocause these bonds would be sold for the most part to sophisticated institutional
investors, it was necessary for such a bond offering for WorldCom to appear to have sufficiently
large assets and earnings power to be able to pay the huge ijpterest payments that would be duc on
these bonds, and that WorldCom's assets and earings power were sufficient lo retire the bonds when
they became due. Maintaining WorldCom's investment-grade credit rating was absolutely
indispensable to successfully completing the bond offenng. ‘Thus, WorldCom's financial position
and results at 12/31/99 and 3/31/00 as presented in the 5/00 Registration Statement appcared to be

very strong and consistent with its investment-grade credit rating, as set forth below:

 

‘ The Floating Rate Notes matured in 01 prior to WorldCom's bankruptcy.
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Year Ended Quarter Ended
12/31/99 381/00
Total assets $91.0 dillion $94.5 billion
Revenue $37.1 billion $ 9.98 billion
Operating income $ 7.8 billion $ 2.4 billion
Diluted EPS $1.35 $0.44
Ratio eamings/
Fixcd charges $.75:1 TOMI
44, The 5/00 Registration Statement contained the following WorldCom financial results:
At or For the Three At or For the
Months Ended 3/31, Year Ended 12/31,
(unaudited)
(in millions, except for per share data) 2000 1999 1999
OPERATING RESULTS:
Revenucs $9,978 $9,122 $37,120
Operating income (loss) 2,440 1,510 7,888
Income (loss) before cumulative
effect of accounting change und
extraordinary itcms 1,301 730 4,013
Net income (loss) applicable to .
common shareholders 1,284 712 3,941
EARNINGS (LOSS) PER COMMON SHARE:
Net income (Joss) —
Basic 0.45 0.25 1.40
Diluted 0.44 0.24 1.35
FINANCIAL POSITION:
Total assets $94,512 $91,072
Long-term debt 13.514 13,128
Shareholders’ investment 53,052 51,238
Ratio of earnings to fixed charges* 7.01:1 3.96:1 3.75:1
* For the purpose of cummputing the ratlo of curnings to fixed charges, carmuys consist of pretax incume (luy»)

from coptmuing operations, excluding minority interests in losses of consolidated subsidiaries, and fixed
charges consist of pretax intesesi, including capitalized intercst, on all indebtedness, amortization of deht
discount and expense, and that portion of rental expense which WorldCom believes to be representative of

interest.
45.

financial results:

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The 5/00 Registration Statement contained the following WorldCom/Sprint pro forma
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Unaudited Pro Forma Condensed Combined Balance Sheet
As of 3/31/00
(in millions)

WorldCom
WorldCom — Sprint Pro Forma Pro Forma
Historical Historical  Adiustments Combined
Current assets $11,110 $ 4,988 $ - $ 16,098
Property. plant & equipment, net 30,909 22,432 - 53,341
Goodwill & PCS licences, net 42,865 8,406 (8,406) 150,467
107,602
Other intangibles, net 4,304 1,123 - 5,427
Other assets 5324 L765 = 7
Total assets $94,512 $38,714 $99,196 $232,422
Total shareholders’ equity 53,052 14,223 99,196 166,47!
Total liabilities &
shareholders’ equity $94,512 $38,714 $99.196 $232,422

Unaudited Pro Forma Condensed Combined Statement of Operations
For the Three Months Ended 3/31/00

(in millions, except per share data)

WorldCom
WorldCom = SprintFON ProForma Pro Forma
Historical Bistorical Adjustments Combined

Revenues $ 9,978 $ 4,397 $ (133) $ 14,242
Operating expenses:
Line costs 4,092 2,031 (133) 9,990
Selling, gcneral & administrative 2.299 1,063 - 3,362

Net income (loss)
Applicable to common shareholders
before discontinued operations &

extraordinary items $ 1,284 $ 447 $ (731) $ 1,000
EBamings (loss) per share —

Basic $ 0.45 $ 0.5) $ 0.23
Diluted $ 0.44 $ 0.50 $ 0.22

Unaudited Pro Forma Condensed Combined Statement of Operations
For the Year Ended 12/31/99
(in millions, except for per share data)

WorldCom

WorldCom = SprintFON ProForma Pro Forma
Historical Hislorical Adjustments Combined

Revenues $37,120 $17,016 $ (536) $ 53,600
Operating expenses:
Line costs 15,951 7,724 (536) 23,139
Selling, general & administrative 8.935 4,233 _ 13.168

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Operating income (loss) 7,888 2,930 (2,923) 7,895

Earnings (Joss) per share:
Basic $ 1.40 $ 2.01 $ 0.64
Diluted S 1.35 $ 1.97 $ 0.62

46. Based on WorldCom's apparent huge asset base and strong historical earnings, the
WorldCom Bonds as presented in the 5/00 Registration Statement filed with the SEC to sell these
"investment-grade" bonds appeared to be a very safe investment. The Registration Statement
contained zo risk factors with respect to investment in the WorldCom Bonds. The Registration
Statement presented WorldCom as having over $94 hillion in assets, as being very profitable and as
having an "earnings-to-fixed-charges ratio" at 12/31/99 — the key financial measure of the safety of
a debt issuance — of 5.75 to 1, a very strong ratio.

47. The 5/00 Registration Statement also contained Sprint's IstQ 00 results:

Unaudited Pro Forma Condensed Combined Statement of Operations

For the Three Months Ended 3/31/00
(in millions, except per shure data)

Sprint FON
Historical
Revenucs $ 4,397
rating expenses:
i costs 2,031
Selling, general & administrative 1,063
Net income (oss)
Applicable to cominon shareholders
before discontinued operations &
extraordinary items $ 447
Eamings (loss) per share -
Basic $ O51
Diluted $ 0.50

48. By the time of this offering, loans to Ebbers’ personal holding company, Joshua
Timberlands, by a CiliGroup eutity (Travelers Insurance) bad scachicd $679 million, as described in
485. Despite CitiGroup's role as lead underwriter, this loan was not disclosed.

49. In addition to availing themselves of virtually unbridled access to WorldCom's
internal corporate information, the banks met with WorldCom's management, top executives and

Andersen and engaged in “drafting sessions” prior to completing the 5/00 Registration Statement.

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During these sessions, consensus was reached as to: (i) the strategy to best accomplish the 5/00
offering; (ii) the terms of the 5/00 offering, including the price at which WorldCom Bonds would
be sold; (iii) the language to be used in the Registration Statement, (iv) what disclosures about
WorldCom wauld be made in the Registration Statement; und (v) what responses would be made
to the SEC in connection with its review of the Registration Statement,

50. The 5/00 Registration Statement also made it appear likely that the Department of
Justice ("DOJ") would approve WorldCom's acquisition of Sprint. Jt stated:

Consumunation of the Sprint merger is subject to various conditions set forth

in the merger agreement with Sprint, including the adoption of the merger agreement
by stockholders of Sprint, the approval of the Sprint merger by sharcholders of
WorldCom, the approval of the issuance of WorldCom capital stock in the Sprint
merger by shareholders of WorldCom, certain U.S. and foreign regulatory approvals
and other customary conditions. On April 28, 2000, special meetings of the
shareholders of WorldCom and Sprint were held and the merger proposals were
adopted and approved. It is anticipated that the Sprint merger will close in the
second half of 2000. Additionally, if the Sprint merger 1s consummated, the
integration and consolidation of Sprint would require substantial management and
financial resources and Involve a number of significant risks, inchiding potential
difficultics in assimilating tcchnologies and services of Sprint and in achieving
anticipated synergies and cost reductions.

51. In fact, the Sprint merger faced significant regulatory hurdles and its consummation
was highly suspect. WorldCom's stock had appreciated significantly on the news and would decline
if the merger was blocked. The decline in WorldCom's stock price would makc (and did make) the
Compuny's debt securities less attractive. Nonetheless, WorldCom was successfnl in completing the
5/00 offering, raising $4.9 billion in proceeds.

The 12/00 and 5/01 Offerings

52. in. 7/00. the DOJ announced it would block WorldCom's acquisition of Sprint. In
doing so, the Justice Department publicly stated that the long-distance industry had become over
concentrated and that it would not permit any further substantial mergers in that industry. This
meant that WorldCom's growth-by-acquisition strategy had come to an end. WorldCom slock
collapsed, falling to just $13 1/2 by the end of 00. This collapse ended any possibility that
WorldCom could continue to make non-dilitive acquisitions using its stock.

$3. By year-end 00, WorldCom in fact was facing a cash flow/liquidity crisis, Because

most of WorldCom's reported profits continued to be "cash-less," £e., were duc to accounting

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manipulations like secretly drawing down on excess reserves created in connection with previous
acquisitions, lengthening the amortization period of assets to reduce current depreciation charges,
improperly capitalizing operating costs and the like, WorldCom's operations were not generating
sufficient cash to support the Company's expanding operations. WorldCom had been falsifying its
financial results for years; thus, WorldCom's 99 and 00 resulis were false in material respects.
WorldCom artificially inflated its revenues and eamings by improperly booking sales, improperly
capitalizing software and "line" costs which were ordinary operating expenses, failing to write down
assets (goodwill) due to the impaired value of earlier acquisitions, improperly classifying assets of
companies it acquired to lengthen their amortization periods, taking excessive “one-time” acquisition
charges that it later secretly used to boost ils “operating” earnings, failing to properly and timely
account for customer refunds due to overcharges and improperly failing to write off receivables it
could not collect. These accounting tricks overstated WorldCom's reported assets. operating
earnings, cash flow and EPS.

54. To make matters worse, during the Jast half of 00, price competition in the long-
distance business intensified. raising investor concerns as to the long-tecm profitubility of long-
distance providers like WorldCom's MCI subsidiary. Thus, WorldCom could no longer prow by
acquiring other companies and, at the same time, the business fundamentals of its core operations
were deteriorating. ,

55. However, during the balance of 00, following the sale of the bonds in 5/00,
WorldCom continued to consistently report strong growth in revenues, slrong cash flow and income
from operations and strong EPS. As a result, it continued to maintain its "investment-grade" credit
rating.

56. To make matters worse, in late OO/early 01, due to the collapse of WorldCom stock,
Ebbers (WorldCom's founder and CEO), defaulted on a $350+ million margin loan he had secretly
taken out earlier in 00 from: Bauk Auuerica, sccured by millions of shares of lis WorldCom stock.
To bail hiraself out, Ebbers forced WorldCom to pay off and thus assume his huge margin Joan, thus

further exacerbating WorldCom's cash flow/liquidity problem, and putting enormous pressure on

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Ebbers and the entire WorldCom Board to shore up WorldCom's financial condition to help support
its Stock price so it would not decline any further.

57. As aresult of WosldCom's cash flow problems, by late 00/early 01. WorldCom's
commercial paper and other short-term debt had ballooned to by far its highest levels ever, i.c., $9-
$10 billion, and while WorldCom had been able to borrow in the commercial paper market because
its appaient buge asset base and suoug carnings power entided it iv an “investment-grade” credit
rating, by late OO/early 01, WorldCom's short-term debt had reached such levels that WorldCom's
ability to continue to expand ils borrowing in this market was al or near an end.

58. While WorldCom had in place a commercial paper back-up facility, ie., a $12 billion
unsecured lending commitment from its banks (J.P. Morgan, CitiGroup, Bank America, Deutsche
Bank and ABN/AMRO). which permitted it to draw down on that facility 1o pay off its commercial
paper debt if necessary, that line had never been drawn down upon, enabling WorldCom's lending
banks to sit buck and comfortably collect a conumiunent fee of .25%, or approximately $25-530
million per year, monies they pocketed without incurring any acwal credit risk exposure to
WorldCom.

59, The banks knew, however, if WorldCom began to draw down on its commercial
paper back-up facility, this would put the banks very much at risk of a major loss, as they knew from
their Jong association with WorldCom and involvement in its financial and business affairs that
WorldCom's actual financial condition was far, far worse and much more highly leveraged and
dangerous that had been publicly disclosed. While the banks would have received interest payments
on the loans had the facility been drawn down upon, interest rates at that time were very low and
commercial lending was the least profitable part of these banks' operations. Thus, these interest rates
could not possibly adequately compensate the banks for the truc credit risk they knew they would
be taking in making billions of dollars of loans to WorldCom. In 12/00, J.P. Morgan arranged a $2
billion offering, for WorldCom.

60.  Toeffectuate the 12/00 offering. defendants disseminated an Offering Memorandum
dated 12/14/00. Delivery of the $2 billion in notes was to occur on 12/19/00. The data below shows

the bonds sold in the 12/00 offering and the monies received by WorldCom:

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Public
Offering Price

7-3/8% Dealer Remarketable
Securities due 2011 $ 999,060,000

7-3/8% Notes due 2006 $ 907,400,000
$3,996,460.000

61. The 12/00 Offering Memorandum incorporated by reference WorldCom's 99 Form
10-K and 3/31/00, 6/30/00 and 9/30/00 Forms 10-Q, which included WorldCom's financial results
for 99 and the first three quarters of 00. As described in §§93-132, these financial results were
materially false and misleading.

62.  Byearly 01, WorldCom desperately needed lo raise cash to restore its liquidity by
paying dawn its commercial paper and other short-term debt, However, WorldCom's banks did not
want WorldCom to borrow from them. So, WorldCom and its banks began to quickly work together
to find a way to raise the capital WorldCom needed — but from public investors. Since WorldCom's
comunon stock had collapsed, a sale of equity was out of the question as it would have been grossly
dilutive. So, it was decided to undertake a massive bond offering — the largest corporate bond
issuance in the history of the United States and a bond offering that could only be accomplished if
the WorldCom Bonds to be sold were rated "investment grade” by the rating agencies and
WorldCom's financia] condition appeared to be very strong and its ovcrall business succeeding,
despite intensifying long-distance pnce competition.

63. During early 01, WorldCom and the banks put together this largest corporate bond
issuance in U.S. history. On 5/9/01, they sold about $12 billion worth of WorldCom Bonds. The
banks pocketed $70 million of the proceeds in underwriting fees. WorldCom took the proceeds and
used approximately $10 billion to pay off its commercial paper and other short-term debt, leaving
it with $2 billion in cash and giving it ongoing access to the commercial paper market for continued
borrowing. There was no draw-down on WorldCom's commercial paper back-up facility with its

banks.

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64. The banks which acted us the Icad underwriters for the 5/01 bond issuance were J.P.
Morgan, CitiGroup, Bank America, Deutsche Bank and ABN/AMRO. The data below shows the
bonds sold in the 5/01 offering and the monies received by WorldCom and the banks:

Public Proceeds tu

Offering Underwriting WoridCom
US. doltar 6.50% aotes due 2004 $1.497.345,000 $3.750.000 $1.493.595.000
U.S. dablar 7.50% notes due 2011 $3,956.160,000 $38,000,000 $.3,938,360,000
U.S. dollar 8.259% notes duc 2031 $4,512,.508,000 $40,250,000 $4,472,258,000
Euro 6.74% antes due 200% €1,248,987 500 €$,000,000 €1.243,987,500
Sterling 7.25% sores due 200K £498.850,000 £2,000, 0) £996,850,000
Combined Totals $9,966,013,000 $62,000,000 $9,904,013,000
€1 248,987,500 €5.000,000 €1,243,987,S00
£498,850,000 £2,000,000 £296,850,000

65. Inconnection with the 5/01 offering, WorldCom filed a Registration Statement with
the SEC which became effective on 5/9/01, That Registration Statement contained materially false
stalements and material omissions, and included WorldCom's false financial statements for the year
ended 12/31/00 and the 1stQ 01. These financial statements artificially inflated WorldCom's assets,
net income, EPS and cash flows from operations — and associated financial ratios, including its ratio
of eamings to fixed charges. WorldCom artificially inflated its revenues and earnings by improperly
booking sales, improperly capitalizing ordinary operating costs, failing to write down assets
(goodwill) due to the impaired value of earlier acquisitions, improperly re-classifying assets of
compames it acquired to lengthen their amortization periods, laking excessive “one-time” acquisition
charges that it later secretly used to boost ils "operating" earnings, failing to timely record refunds
due customers aud iimpivperly accounting for receivables it could nut vullect.

66. | However, the planned bond offering was one of the largest in history and included
billions of dollars of bonds not due until 201] and 2031. Because these bonds would be sold for the
most part to sophisticated institutional investors, it was necessary for such a bond offering for

WorldCom to appear to have sufficiently large assets and earnings power to be able to pay the huge

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interest payments that would be due on these bonds, and that WorldCom's assets and eurmings power
were sufficient to retire the bonds when they became due. Maintaining WorldCom's investment-
grade credit rating was absolutely indispensable to successfully completing the bond offering. Thus,
WorldCom's financis] position and results at 12/35/00 and 3/31/01 as presented in the 5/01
Registration Statement appeared to be very strong and consistent with ils investment-grade credit

rating, as set forth below:

Year Ended Quarter Ended
12/31/00 3/31/01

Total assets $98.9 billion $99.5 billion
Revenue $39.0 billion $ 9.7 billion
Operating income $ 8.1 billion $ 1.4 billion
Diluted EPS $3.43 $0.25
Ratio carnings/
Fixed charges §.25:] n/a

67. In addition (o these favorable financial results, the 5/01 Registration Statement also
presented other favorable aspects of WorldCom's business:

. WorldCom's IstQ 01 results were an "excellent start,” showing that WorldCom “is
on track to deliver strong growth and solid performance throughout the year."

. WorldCom group had “achicved [its] growth targets” and had "strong" IstQ O1

results.

. The MCI group “made excellent progress adjusting ... business to maximize and
maintain profitability and cash flow as far into the future as possible.”

* WorldCom was "well positioned to capitalize on growth opportunities."

. "The businesses attributed to the MCT group have significant assets."

. The breadth and scale of its services "differentiate [WorldCom's] offerings from
those of fits] competitors.”

. “We believe our sales and marketing capabilities are one of our strongest competitive
advantages."

. Total revenues in 00 increased from 99 duc to "internal growth of the WorldCom
Group."

. WorldCom was positioned to use its "plubal asscts and ... customer base” to lead a

new generation of fast growing e-commerce and dala driven markets.
68. Based on WorldCom's apparent huge asset base and strong historical earnings, the

WorldCom Bonds as presented in the 5/01 Registration Statement filed with the SEC to sel] these

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"investment-grade” bonds appeared to be a very safe investment. The Registration Statement
contained no risk factors with respect to investment in the WorldCom Bonds. The Registration
Statement presented WorldCom as having over $99 billion in assets, as being very profitable and as
having an “earnings-to-fixed-charges ratio" — the key financial measure of the safety of a debt
issuance ~ of 5.25 to 1, a very strong ratio.

69. WorldCom, however, bad $12 billion in unsecured commercial paper back-up credit
facilities, led by CitiGroup, J.P. Morgan and Bank America, for which the banks received an annual
commitment fee of .25% or $30 million per year. WorldCom's commercial paper back-up credit
facility had never been drawn down upon by WorldCom and thus the banks had never faced any ume
credit nsk exposure to WorldCom. However, given the deterioration in WorldCom's business and
the ballooning of its short-term debt to $9 billion, WorldCom would soon have to begin to draw
down billions of dollars on its unsecured commercial paper back-up facility, which would expose
the banks to a very subslantial nsk of loss given WorldCom's truc financial condition. The banks
wanted to avoid this if at al} possible.

70. Thus, by late OO/early 01, WorldCom, Ebbers, J.P. Morgan, CitiGroup, Bank
America, ABN/AMRO, Deutsche Bank and Andersen began to work quickly to put togethor a huge
public debt offering to raise billions of dollars of long-term capital for WorldCom, so WorldCom
could pay off its ballooning short-term debt and so WorldCom would not have to draw down on the
unsecured commercial paper back-up facilities.

71. By late 00, WorldCom, WorldCom's top insiders, the banks, and Andersen were
planning the 5/01 offering. As part of the process of preparing the 5/01 Registration Statement, the
Underwriter Defendants purportedly conducted an adequate and reasonable investigation into the
business and operations of WorldCom. an undertaking known as a “due diligence” investigation, but
in fact, did not da so. During the course of their "due diligence,” the banks had continual access to
confidential corpurate infoumation conceming WorldCom's business, financial condition, internal
controJs and its future business plans and prospects and learned of or should have learned of the
falsification of WorldCom's financial condition and results and the other false and misleading

statements in the 5/01 Registrauon Statement. Also, as a result of their status as standby Icnders for

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WorldCom on the commercial paper back-up facilities, the banks had access to WorldCom's tric
financial condition, and knew or should have known it was much worse than publicly presented,
which is why the banks wanted to avoid having WorldCom draw down on those credit facilities.

72. In addition to availing themselves of virtually unbridled access to WorldCom's
internaj corporate information, the banks met with WorldCom's management and top executives and
Andersen, and enguged in “drafting sessions” prior (o completing the 5/01 Regisuativn Statement.
During these sessions, consensus was reached as to: (i) the strategy to best accomplish the 5/01
offering; (ii) the terms of the 5/01 offering, including the price at which WorldCom Bonds would
be sold; (iii) Ube language lo be used in the Registration Statement: (iv) what disclosures about
WorldCom would be made in the Registration Statement; and (v) what responses would be made
to the SEC in connection with its review of the Registration Statement.

73. The Registration Statement for the 5/0: offering discussed WorldCom's business and
finances. The Registravion Statement incorporated WorldCom's 10-K for the year onded 12/31/00,
and the 8-Ks filed 4/26/01 and 5/1/01. WorldCom's 00 10-K contained its audited financial results
for 99 and 00. The 4/26/01 8-K included the press release announcing WorldCom's financial results
for the quarter cnding 3/31/01.

74. WorldCom's 4/26/01 8-K, which was incorporated by reference into the Registration
Statement, stated:

WORLDCOM GROUP FIRST QUARTER 200] REVENUES UP 12 PERCENT,
ACHIEVING GROWTH TARGETS AND DELIVERING SOLID RESULTS.

WORLDCOM, INC. REPORTS FIRST QUARTER CASH EPS OF 35 CENTS.

.» WorldCom, Inc., the leading global digital and data communications
provider, today announced financial results for the quarter ended March 31, 2001.

* * *

WORLDCOM GROUP RESULTS

WorldCom group, which includes the Company's high-growth data, Internet
and intemational operations, as well as commercial voice services, reported revenues
of $6.1 billion, 2 12 percent increase from the same period in 2000. This strong
result was driven by 22 percent year-over-year revenue growth in data and Internet
services and 19 percent revenue growth in international services.

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Data and Internet services accounted for $2.8 billion or 45 percent of
WorldCom group's revenues. up trom 42 percent in the first quarter of 2000.
Revenue growth in these fast-growing services continues to lead the industry ....

¥ * *

WorldCom group reported cash earnings (eurnings before goodwill
amortization) of $865 million or 30 cents per share. WorldCom group net income,
after goodwill amortization, was $638 million or 22 cents per share in the quarter.

MCI GROUP RESULTS

MCE group, the Company's consumer, smal! business, wholesale lon
distance, wireless messuging and dial-wp Intemet access businesses, reported
revenues of $3.6 billion, versus $4.2 billion in the same period last year. Contrary
to industry trends, MCI group consumer subscription long distance and local
services reported revenue growth.

* 8 x

CONSOLIDATED WORLDCOM, INC. RESULTS

First quarter 2001 consolidated revenues were $9.7 billion, up from $9.6
billion in the same period of 2000. Consolidated EBITDA was $2.9 billion,
representing an EBITDA margin of 30 percent.

First quarter 2001 cash earnings were $1.0 billion, or 35 cents per sharc.
Consolidated net income, after goodwill amortization, was $729 million or 25 cents
per share in the quarter.

MANAGEMENT'S COMMENTS

"This quarter was an excellent start to what will be a pivotal year for
WorldCom. These resulis show that WorldCom is on track to deliver strong growth
and solid performance throughout the year." said Bernard J. Ebbers, president and
CEO of WorldCom, Inc.

“Qn the WorldCom group side we achieved our growth taryets, adding $237
million in revenues since the fourth quarter —the largest sequential increase we've
delivered in a year."

“And on the MCI group side we made excellent progress adjusting our
businesses to rnaximize and maintain profitability and cash flow as far into the
Juture as possible.”

75. | With respect to the Company's recent results, the Registration Statement stated:

Recent Developments

The following information reflects selected results for the quarter ended
March 31, 2001 for the WorldCom group, the MCT group and WorldCom as a whole.

WorldCom group reported first quarter 2001 revenues of $6.1 billion, a
12 percent increase from the same period in 2000. This strong result was driven by

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22. percent year-over-year revenue growth in data and Internet services and 19 percent
revenue growth in international services.

* * *

Selected Historical Financial Data

* * *

In reading the following selected financial data, please note the following:

* * %

- Results for 2000 include ... a $685 million pre-tax charge associated with
specific domestic and international wholesale accounts that were no longer deemed
collectible due to banknuptcies, litigation and settlements of contractual disputes that
occurred in the third quarter of 2000.

eo o&
AT OR FOR THE YEAR ENDED DECEMBER 31,

1999 2000
(IN MILLIONS, EXCEPT PER SHARE DATA)

OPERATING RESULTS.
Revenues $35,908 $39,090
Operating income (loss) ... 7,888 8,153

EARNINGS (LOSS) PER COMMON SHARE:

Nat Income (Loss) -

Basic 1.40 1.43

Diluted 1.35 1.40
FINANCIAL POSITION:

Tota] assets $91,072 $98,903

Shareholders’ investment 51,238 55,409

Ratio of earnings to fixed charges §.75:1 $.25:1

76. Furthermore, WorldCom's 00 10-K, which was incorporated by reference in the
Registration Statement, contained the following statements regarding WorldCom's business:
We believe we are positioned to use those global assets and our customer

base to lead the new generation of fast growing, e-commerce and data-driven
segments of the communications industry.

* * *

Using our Intemet protocol infrastructure, we intend to continue our
expansion into high growth, next generation services, such as virtual private

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networks which use Internet protocol technology, web centers that allow customers
to interact with sales and service agents over the Internet, the telephone or mail, and
Internet content delivery services. We believe the breadth and scale of these
services differentiate our offerings from those of our competitors and meet our
customers’ increasingly complex communications needs, highlighting the unique
quality and reach of our networks,

We are positioning the company for leadership in the high growth segments
of our industry. Our proposed merger with Intermedia Communications and
resulting controlling interest in Digex will provide us with a strong foothold in the
expanding managed hosting arena.

* = *

Domestic connections using Internet protocol technology are expected to grow at an
annual rate of approximately 27% trom $13.5 billion in 1998 to approximately $46.3
billion by 2003, according lo market studies by Probe Research. Much of the growth
is expected to result from incrcascd demand for e-mail, web hosting services, ¢-
coymmerce, collaborative workflow and real-time video services and applications.
We believe that most of the growth in data communications will be driven by
corporations’ demand for high quality and scalable Internet-based infrastructure and
services, including web hosting and other managed network services. We are well
positioned to capitalize on these growth opportunities and to shape the future of
global digital communications due to our network, global customer base, tradition
of innovation and corporate stratezy to target and lead the high end of data-driven
emerging communications segments.

= * ¥*

Our management's mandate is to use our existing market positions and asscts
opportunistically to optimize cash flow, whilc retiring the debt attributed to the MCI
group. Available cash flow, after debt and interest repayments, will be available for
dividend payments and possible share repurchases. The businesses attributed to the
MCT group have significant assets, including the nationally recognized brand,
extensive customer relationships, 20 call centers with highly effective sales
representatives and a tradition of developing innovative calling plans thal enhance
customer retention. Management believes it can leverage these strengths to deliver
new services and to bundle existing services.

* %* *

We believe our sales and marketing capabilities are one of our strongest
competitive advantages. Telemarketing is a fundamental component of the sales
effort for residential and small business customers. Typically, roughly 50% of our
residential and smal] busincss installations are sold through some 8,500 telemarketers
based in 20 call centers nationwide. Ou marketing partners, in tum, are a key
competitive advantage for differentiating long distance sales, offering consumers the
opportunity to earn frequent flyer miles, free video rentals, and similar awards hased
on long distance usage. Over 50% of subscription long distance minutes are
generated by our 7.5 million partner customers.

* ms *

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REVENUES. Revenues for 2000 increased 15.3% to $22.8 billion versus

$19.7 billion for the same period in the prior year. The increase in total revenues

is attributable to internal growth of the WorldCom graup.

77. The 5/01 Registration Statement was false or misleading, as set forth below.

78. After the WorldCom Bonds were sold. WorldCom in 7/01 reported strong 2ndQ OL
results, along with strong cash flow. In 10/01, it announced strong 3rdQ 01 results with strong cash
flow. in 1/02, WorldCom announced profitable 4thQ 01 and 0} results and strong cash flow. As
a result, at the cnd of 1/02, the WorldCom Bonds sold to investors m 5/00 and 5/01 were selling at
or slightly above par.

The Truth Begins to Be Revealed

79. In 2/02 there began a series of revelations that quickly destroyed WorldCom. In 2/02,
WorldCom slashed its 02 revenue and earnings forecasts and revealed it was going to take a $] 5-320
billion write-down for the impaired value of prior acquisitions. In 3/02, it was revealed that the SEC
was investigating WorldCom's accounting practices. In 4/02, WorldCom slashed its 02 revenues and
eamings forecasts even further and analysts indicated that WorldCom's asset write-downs due to the
impaired value of its prior acquisitions would now exceed $45 bilbon. In short order, WorldCom's
credit rating was downgraded by the rating agencies to "junk" status and the WorldCom Board was
forced to oust Ebbers in an effort to save the Company's credibility — allowing him to leave with a
$408 million loan from WorldCom ard a deal to be paid $1.5 million a year for as long as he lives.
In 5/02, WorldCom Bonds were further downgraded — now to "junk" status. As a result of these
revelations, WorldCom Bonds plunged, losing approximately 50% ot their value by early 5/02.

80. Then, by 6/25/02, WorldCom admitted it had engaged in one of the largest financial

falsifications in history — overstating its earnings and operating cash flow by billions of dollars
in O1 and the IstQ 02 by improperly capitalizing normal operating expenses. WorldCom has now
admitted that its I1stQ 01 financial statements in the 5/01 Registration Statement were materially
false and that it improperly disguised ordinary operating expenses as cupital assets in the amount of
$771 million in the 1stQ O01. This practice not only inflated earnings but inflated the cash flows
WorldCom reported from operations. WorldCom reported operating income of $1.281 billion and

cash flows from operations of $1.596 million in the 1stQ 01. Thus, by 6/02, WorldCom had

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admitted falsification of WorldCom's IstQ 01 results overstated its operating income by at least 60%
and its cash flows from operations by al least 48%! This revelation resulted in the ouster of
WorldCom's chief financial officer and its controller. WorldCom Bonds now collapsed even further.
to just $120-$200 per bond. The SEC publicly condemned this financial manipulation and sued
WorldCom for fraud, stating WorldCom had “falsely portrayed itself as a profitable business.”
President Bush condemned these “outrageous” and “egregious practices."

81. | WorldCom's admission that its huge $3.8 billion expense concealment falsification
began in the IstQ O!, ié., right when the huge WorldCom bond offering was being put together, is
of cnormous significance. The Registration Statement by which the bonds were sold not only
contained WorldCom's false 99 and 00 annual financial statements, certified by Arthur Andersen,
but aleo contained WorldCom's 1stQ 0) results which showed operating profits of $1.4 billion. EPS
of $.25 and cash flow from operations of $1.6 billion. Thus, WorldCom has admitted that these
financial results were materially faise.

82. In7/02, information sutfaced indicating that WorldCom's 99 and 00 financial results
had been falsified as well by the use of drawing down upon excess reserves created in connection
with earlier acquisitions during 98-99. WorldCom's common stock plunged to pennies a share, and
in 7/02, WorldCom went bankrupt. Thus, investors who purchased “investment-grade" rated
WorldCom Bonds in 5/00, 12/00 and 5/0! from a company with an apparently huge asset base,
strong earning power and billions in positive cash flow have now suffered losses of approximately
$13-$14 billion and hold “junk” bonds 1n a company that never made a true profit, i$ bankrupt and
these bonds are in default. As the graph in Exhibit C shows, the WorldCom bonds collapsed upon
the negative company-specific revelations and bankruptcy in 7/02, losing some 90% of their value.

83. On 7/31/02, WorldCom's former CFO (Scott Sullivan (“Sullivan")) and Controller
(Myers) were indicted and arrested for securitics fraud in connection with their falsification of
WorldCom's financial results. The complaint against Sullivan and Myers states in part:

[T]he chart set forth below fairly summarizes the quarterly transfers from certain

current expense line cost accounts to certain PP&E capital expenditure accounts

between April 2001 and Apri] 2002. Figures expressed in the chart are rounded to
the nearest million.

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WarldCom General Ledger Account Adjustments

(expressed in millions)
Income Statements Balance Sheet
Line Cost Expense Accounts Asset Accounts
Inrer- Special Other Trans- Commu- Furi. Const.
state Access Special Access- mission mications ture, fiction
Origin- Summ- = Access — Total Non Equip- Equip- Fixtures in ‘fotal
ating ary Local Credits = Current ment ment & Other Progress Debils
Q1- $ 671 $1%) $776) 4% GY $ 42 $ 771
200!
Q2- $ 480 $ 80 $ 560 $ 560 $ 560
2001
Q3- $578 $n $ 75 $ 743 $ 343 $ 400 $ 743
200i
Q4- $ 539 $317 $ 83 $ 941 $ S30 $317 $ 35 $ $4)
2001
Q)- $ 575 $ 153 3 80 $ 818 $ RIK S$ 818
2002
GRAND TOTALS $3,833 $3,833

84, Then, on 9/19/02, it was revealed that WorldCom had misaccounted for an additional
$2 billion in carnings, duc in part to the Company's improper accounting for its interest in Embratel,

which it acquired in 98. This misaccounting added hundreds of millions of dollars to WorldCom's

reported earnings.
85. On 10/14/02, The Wall Street Journal reported that:

A closely held company controlled by WorldCom Inc.'s former chief
exccutive, Bernard Ebbers, received $679 million in loans from the Travelers
Insurance subsidiary of Citigroup Inc., adding to the potential conflicts of interest
faced by Citigroup in its dealings with WorldCom, a lawsuit alleges.

The Jawsuil portrays an even deeper financial relationship than previously
disclosed between Citigroup and Mr. Ebbers. The former telecom executive also
made personal profits from large stock allocations in hot initial public offerings
underwritten by Citigroup's Salomon Smith Barney investment-banking unlit. And
Salomon earned tens of millions of dollars in fees as an underwriter for WorldCom's

stock and bond offering.

* * *

Citing interviews with an unidentified former senior broker at Salomon, the

suit claims that Mr. Grubman and others at Salomon helped Mx. Ebbers obtain $499
million in louns from Travelers in September 1999 for one of his personal holding
companies, Joshua Timberlands LLC of Brookhaven, Miss.

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* + *

Citing public records filed in Mississippi, the complaint also claims that
Travelers entered into an additional $180 million Joan agreement. with Joshua
Timberlands in February 2000, bringing the total amount of Ebbers-related loans
from Travelers to $679 million.

¥ * *

The complaint suggests — though it doesn't cite definitive evidence — that the
loans from Travelers “apparently” were secured not by the real estate that Mr. Ebbers
purchased, but by Mr. Ebbers's personal holdings in WorldCom stock. In making
that suggestion, attorneys for the New York retirement fund appear to be piecing
1ogether details from several different public records on file with state agencies in
Mississippi. The complaint states that those records appear to show that Travelers
and Mr. Ebbers's holding company began chan ing the terms of the mortgage loans
so that the collateral orginally pledged for the oans no longer would be fully
pledged. The complaint also cites an August article in the Birmingham News of
Alabama, which reported that Mr. Ebbers pledged his WorldCom shares to obtain the
loans that Joshua Timberlands used to buy the acreage: the article didn't identify the

lender.
86. On 11/4/02, the bankruptcy examiner's report was released indicating additional
problems. As Reuters reported:

Au examiner in the WorldCom Inc. bankruptcy case suggested the telephone
and data services company took “extraordinary and illegal steps” to manipniate its
financial records, and predicted it would have to restate results beyond the $7.68
billion already disclosed.

"A picture is clearly emerging of a company that had a number of troubling
and serious issues," Dick Thornburgh, the examiner appointed by the U.S. Trustee,
said in a 118-page report filed with the bankruptcy court.

"These issues relate to the culture, intemal controls, management, integrity,
disclosures and financial statements of the company," he satd.

* Cd a

“Our investigation strongly suggests that WorldCom personnel responded to
changing business conditions and earnings pressure by taking extraordinary and
illegal steps to mask the discrepancy between the financial reality at the company and
Wall Street's expectations,” Thornburgh said.

The report highlighted the influence former WorldCom Chief Executive
Bernard Ebbers bad over the company and its board of directors. Ebbers' lawyer has
said the investigations will uncover "not a shred of credible evidence that Bernie
Ebbers bad a thing to do with thuse (accounting) decisivus.”

* * x

The examiner reviewed more than a million WorldCom documents.
Thomburgh said he will continue to probe several areas, including WorldCom's
relationship with investment bank Salomon Smith Bamey, the accounting for

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WorldCom's Latin American investments Embratel and Avantel, and decisions made
by the board's audit and compensation committees.

The report indicates that the flow of bad news from the company hasn't
stopped. This could foreshadow additional lawsuits brought against the company and
make it difficult for it to emerge from Chapter 11 bankmiptcy protection, bankruptcy
experts said.

* * x

Thomburgh offered damning observations about a company where the CEO
“exercised substantial influence over the board's decision-making process and
actions" and where “critical questioning was discouraged.”

The board's compensation and stock option committee "seems to Jargely
abdicate its responsibilities to Mr. Ebbers. it approved compensation packages that
appear overly generous and disproportionate."

From Jan. 1, 1999 to Dec. 31, 2001, Ebbers received more than $77 million
in cash and benefits, while shareholders lost in exccss of $140 billion in value, the
report noted.

The report also raised questions about the "unusually close and potentially
problematic" relationship between WorldCom and its investment banker Salomon
Smith Barney, and Jack Grobman, an influential telecommunications analyst at that
firm.

87.  On11/5/02, the SEC filed an amended complaint against WorldCom in the federal
district court in New York with WorldCom's consent, adding claims that WorldCom violated the
antifraud provision of the 1933 Act. The amended complaint broadened the Commission's charges
to allege that WorldCom misled investors from at least as early as 99 through the 1stQ 02, and
further states that the Company has acknowledged that during that period, as a result of undisclosed
and improper acconnting, WorldCom materially overstated the income it reported on its financial
statements by approximately $9 billion. On 11/26/02, the SEC announced that a judgment of
permanent injunction was entered in its pending civil enforcement action against WorldCom:

The judgment, signed by U.S. District Judge Jed S. Rakoff of the Souther

District of New York: (1) imposes the full injunctive relief sought hy the

Commission, (2) orders an extensive review of the company's corporate governance

systems, policies, plans, and practices, (3) orders an extensive review of the

company’s interna] accounting control structure and policies, (4) orders that

WorldCom provide reasonabje training and education to certain officers and

employees to minimize the possibility of future violations of the federal securitics

laws, and (5) provides that civil money penalties, if any, will be decided by the Court
at a later date.

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88. _—_In Jate 3/03, news reports indicated that the size of the accounting misstatements was
even higher than previous reports, approximately $11 billion.

89. WorldCom's huge financial reverses traumatized the markets. In short order,
WorldCom stock collapsed, falling to as low as $.05 per share. The impact on the purchasers of
WorldCom Bonds was equally catastrophic. As the truth about WorldCom, its operations and its
finances reached the market during early 02, the price of the WorldCom Bonds collapsed. Investors,
like plaintiff, who purchased WorldCom Bonds in the 5/01 offering have lost $9 billion in less
than one year - a stunning decline for investment-grade rated bonds, normally the safest
investment choice for investors. Investors in WorldCom’s 8/98, 5/00 and 12/00 bond offerings
have also lest billions of dollars. The Wall Street Journal referred to the collapse as the "worst bond
deal in history." The SEC suid the restatement of curnings for 01 and the [stQ 02 showed
"improprieties of unprecedented magnitude." Worse yet, WorldCom has now admitted that its
financial results for 99-00 were likely falsified as well.

90. At the time of the Offcrings, WorldCom's finances were collapsing. In fact, the
Company was losing money, not achicving profits. Its assels and net worth were overstated by
billions of dollars. And its liquidity was impaired. WorldCom had borrowed about al) it could in
the commercial paper market and its banks were reluctant to lend it money — pushing it instead to
do the Offerings (vu saise billions of dollars of long-term debt from public investurs. The fact that
the WorldCom §/0!1 offering was necessary to prevent a financial collapse of WorldCom is
confirmed by the recent admission of John Sidgmore, the successor to Ebbers, at WorldCom's 02
Annual Meeting of Shareholders on 6/13/02. There he said that WorldCom had $8 billion dollars
of short-term debt in early 01 prior to the bond offering, but “if we had commercial paper six
months ago, we would he fint-out out af business and Scort [Suilivan, WorldCom's CFO] and his
team negotiated all those away.... [F]rankly Scott has done a fantastic job of shoring up our
balance sheet and that is the only reason this company has a chance when a lot of the other ones
are going under."

91. On 6/28/02, the Financial Times reported:

BOND ISSUANCE PRIDE CAME BEFORE A FALL

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For an idea ofthe scale of the demise of WorldCom, look no further than May
2001, when the company raised $11.9bn in the capital markets and gained bragging
rights — for the second time — to being the issuer of one of the market's biggest cver
transactions.

WorldCom had credit ratings at the time of BBB+ from Standard & Poor's

and A3 from Moody's Investors Service.

These levels are in the bottom half of investment grade range of
creditworthiness ratings, but are still comfortably within that range.

The fact that WorldCom was so rated by Moody's and S&P was undoubtedly

a factor in attracting stong investor interest to its enormous bond issue, which
included tranches in euros and sterling as well as a mammoth US dollar issue.

* + *

The scale of WorldCom's slide down the creditworthiness scate has angered
some investors.

* Ed *

{Criticism has come from Sean Egan, a founder of Egan-Jones Ratings, an
independent credit-rating firm ....

x * *

Egan said: “WorldCom should not have been able to raise $11.9bn Jast year and
would not have been [able to raise this money] if its credit rating had been where it
should have been."

92. According to The Wall Street Journal:
INSIDE WORLDCOM'S UNEARTHING OF A VAST ACCOUNTINGSCANDAL

* * *

Mr. Sullivan never attempted to cover up the aggressive accounting method,
the person familiar with the matter says. Detatls are spelled out clearly enough in
interna) company documents, this person says, that “other people had to see it unless
they were blind.”

WORLDCOM'S FALSE FINANCIAL STATEMENTS
INCLUDED IN THE OFFERING DOCUMENTS
93. WorldCom's reported financial statements included in the 8/98, 5/00 and 5/01
Registration Statements and 12/00 Offering Mcemurandum were falsified in several ways. In fact,
financial statement manipulauon was a way of life at WorldCom. As Ebbers told an employee, "We
won't have to worry aboul eamings-per-share growth for years, with atl our acquisitions,” alluding

to WorldCom's long-standing practice of manipulating reported results through taking excessive

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“one-time” charges in connection with acquisitions and later on reducing or drawing down on these
charges to artificially boost subsequently reported operating earnings. These excessive charges
began in the mid-1990s and were used to inflate later results. Beginning at Jeast in 99, WorldCom
grossly inflated its earings by transferring billions of dollars of ongoing operating expenses to
capital expendimres so thal the costs would be considered an asset rather than an expense.
WorldCom admitted in 6/02 that its 1stQ U1 results, as well as the rest of O1 and IstQ 02, were
overstated by $3.8 billion and that it would restate those results. It has recently been disclosed that
WorldCom's misstatements approximate $11 billion. WorldCom's financial statement manipulations
also included improper capitalization of intcrnal development software costs, improper revenve
recognition, and the failure to make timely write-offs for impairment of goodwill. On 9/26/02,
Myers, the former controller of WorldCom, pleaded guilty to securities fraud charges admitting he
was instructed to falsify records in whal became the largest corporate uccounting scandal in U.S.
history. “I was instructed on a quarterly basis by senior management to ensure that entries were
made to falsify WorldCom's books to reduce WorldCom's reported actual costs and thcrefore to
jocrease WorldCom's reported earnings,” Myers told Judge Richard Casey.

94. The 8/98 Prospectus/Registration Statement included WorldCom's I[stQ and 2ndQ
98 results and incorporated WorldCom's 3/31/98 Form !0-Q which contained WorldCom's financial

statements for the LstQ 98, including:

31/98
Revenues $ 2.3 billion
Operating Income $426 million*
Net Income (Loss) ($416 milion)

* Excluding special charges
95. The 8/98 Prospectus also stated:
RECENT EVENTS

SECOND QUARTER EARNINGS. On July 23, 1998, WorldCom reported
revenues for the three months ended June 30, 1998 of $2.6 billion, a 4S percent
increase over revenues of $1.8 billion for the same period in 1997. Net income for
the three months ended June 30, 1998 was $227.5 million, a 411 percent increase
over nét income before extraordinary items of $44.5 million for the same period in
1997.

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96. The 5/00 Registration Staternent included WorldCom’s IstQ 00 results and
incorporated WorldCom’s 3/31/00 Form 10-Q which contained WorldCom’s financial statements
for the {stQ 00, including:

3/31/
Revenues $ 9.978 billion
Operating Income $ 2.44 billion
Net Income $ 1.284 billion
EPS 3 0.44
Goodwill & Intangibles $47.169 billion

Ratio of Earnings to
Pixed Charges 7.01:1

97. The 5/0! Registration Statement included the following financial results:

Year Ended Quarter Ended
12/31/00 3/31/01
Revenues $39 billion $ 9.7 billion
Operating Income $ 8.1 billion $ 1.4 billion
Net Income $ 4 billion $ 729 million
EPS $1.43 $0.25
Ratio of earnings
to fixed charges 5,25:1 oa

98. Jn fact, WorldCom's reported results for 98, 99, 00 and the 1stQ 01 were averstated
duc to several improper accounting practices and manipulations. WorldCom later announced an
enormous $3.8 billion restatement of its 01 and IstQ 02 earnings due to improper classification of
Operaung costs as assets. In fact, this manipulation began at least as carly as 99. As disclosed in 7/02
congressional testimony, a finance department employee (Troy Normand) told Sullivan in 00 that
the accounting entries were wrong. In the 1stQ 00, WorldCom overstated earnings by $33 million
due to an improper entry to capitalize operating expenses. The SEC is conducting an extensive
investigation into WorldCom's financial statements and reports arising out of its improper accounting
practices, such as improper revenue recognition, improper capitalization of software developed for
internal use, and excessive charges taken for acquisitions. Had WorldCom properly reported its
Tesults in accordance with GAAP, its 00 and 01 results would have looked vastly different, due to
an additional $3 billion in expenses in O1, the recognilion of $925 million in software development
costs as additional expenses in 01, at least $5 billion in goodwill write-downs in {scQ 00, at least $10

billion in goodwill write-downs in IstQ OL, the non-recognition of income from excess merger

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charges taken in prior years and the improper classification of PP&E as goodwill (understating
amortization expense by $695 million per year) and millions and millions of dollars of improper

revenue recognition.

99, WorldCom's 99-00 financial reports in the 5/00 and 5/01 Registration Statements

were supported by the opinion of Andersen, which slated:

We have audited the accompanying consolidated balance sheets of
WorldCom, inc. (a Georgia corporation) and subsidiaries as of December 31, 1999
and 2000, and the related consolidated statements of operalions, shareholders’
investroent and cash flows for each of the years in the three-year period ended
December 31, 2000. These financial statements are the responsibility of the
Company's management. Our responsibility is to express an opinion on these
financia] statements based on our audits.

We conducted our audits in accordance with auditing standards generally
accepted jn the United States. Those standards require that we plan and perform the
audit to obtain reasonable assurance about whcther the financial statements are froc
of material misstatement. An audit includes examining, on a test basis, evidence
supporting the amounts and disclosures in the financial statements. An audit also
includes assessing the accounting principles used and significant estimates made by
management, as well as evaluating the overall! financial statement presentation. We
believe that our audits provide a reasonable basis for our opinion.
In our opinion, the financial statements referred to above present fairly, in all
material respects, the financial position of WorldCom, Inc. and subsidiaries as of
December 31, 1999 and 2000, and the results of their operations and cash flows for
each of the years in the three-year period ended December 31, 2000, in conformity
with accounting principles generally accepted in the United States.
Andersen issued 4 nearly identical letter as to WorldCom's 99 financial statements. The Andersen
opinion letters were false because WorldCom's 99 and 00 financial statements did not fairly present
WorldCom's financial resnits in conformity with GAAP

100. WorldCom's 98, 99, 00 and IstQ 01 results were materially false and misleading.
WorldCom's financial results for 98. 99, 00 and !stQ 01 were also not a fair presentation of
WorldCow's results, but rather were presented in violation of GAAP, SEC nules and the doctrine of
“fair presentation.”

10t. GAAP are those principles recognized by the accounting profession as the
conventions, niles and procedures necessary to define accepted accounting practice at a particular
time. SEC Regulation S-X (17 C.F.R. §210.4-01(a)(1)) states that financial statements filed with

the SEC which are not prepared in compliance with GAAP are presumed to be misleading and

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inaccurate, despite footnote or other disclosure. Regulation S-X requires that jaterim financial
statements must also comply with GAAP, with the exception that interim financial statements need
not include disclosure which would be duplicative of disclosures accompanying annual financial
statements. 17 C.F.R. §210.10-01(a).

WorldCom's Improper Consolidation of Embratel

102. WorldCom has admitted to $2 billion in accounting ciiours related in part to (he
improper consolidation of entities where it held only a minority interest.

103. GAAP, as set forth in Accounting Research Bulletin ("ARB") No. 51, states that
consolidation is appropriate when an enlity has a controlling financial interest which 1s usually at
least 50% of the outstanding voting shares of another company.

104, WorldCom did not own even 20% of the shares of Embratel but still consolidated the
entity in its own financial statements. Embratel then contributed as much as 8% of WorldCom's
revenues. On 9/19/02, Lhe Wail Street Journal reported that:

WorldCom Inc. is preparing a further revision of its financial results that
could add about $2 billion to the $7 billion in accounting problems it has already
disclosed, people close to the situation said.

WorldCom officials are expected to present the company's new findings to
the Securilies and Exchange Commission tomorrow, The existing restatement trom
improper accounting was disclosed earlier this summer. While the exact breakdown
isn't yet known, some of the revision may partly related to write-downs of assets; an
unspecified amount is expected also to stem from improper accounting related to
consolidation of foreign subsidiaries.

* * *

The expected additional restatements underscore the magnitude of what was
already the largest accounting fraud ever and raise questions about whether
WorldCom can actually emerge from bankruptcy intact.

a * *

The company also will re-evaluate the carrying value of existing property,
plants and equipment as to possible impairment of historic values previously
Treported.

Itisn‘t clear which subsidiaries’ results are at issue in the restatement. But one
transaction involved WorldCom's decision to incorporate the results of Brazilian
lelecommunications carrier Embratel Participacoes SA, a_ Brazilian
telecommunications Carrier, into its financial results after it bought MCI in 1998.
MCT had acquired a 51.8% voting interest in Embratel shortly before the merger and
WorldCom continued to consolidate the Embrate] results until] 2001, when it

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restructured its investment, according to an annual report the company filed with the
SEC.

At that time, the company said U.S. accounting rules no longer allowed the
consolidation of Embratel's results.

WorldCom's Improper Capitalization of Expenses

105. WorldCom has admitted that $7.2 billion in line-cost operating costs that should have
been expensed as incurred were in fact capitalized, thereby overstating WorldCom's earnings and
its cash flows from operations in at least 99-01.

106. GAAP as described by FASB Statement of Concepts (“Concepts”) No. 5, 485, states
that expenses are recognized when benefits are used up in delivering services. Assets are recorded
only when there is a probable future economic benefit from a cost. Concepts No. 6, ¥25.

107. WorldCom has now admitted that

it intends to restate its financial statements for 2001 and the first quarter of 2002. As
a result of an internal audit of the company's capital expenditure accounting, it was
determined that certain transfers from line cost expenses to capital accounts during
this period were not made in accordance with generally accepted accounting
principles (GAAP). The amount of these transfers was $3.055 billion for 2001 and
$797 million for first quarter 2002. Without these transfers, the company's reported
EBITDA wouid be reduced to $6.339 billion for 2001 and $1.368 billion for first
quarter 2002, and the company would have reported a net loss for 2001 and for the
irst quarter of 2002,

108. It bas also been revealed that WorldCom's 99 and 00 results were also impacted by
these and other improper accounting entries. As USA Today noted on 7/15/02:

Aggressive accounting at WorldCom may have started much carlier than
thought, according to just-released company memos — and a growing stream of
testimony from WorldCom employees. Rep. Billy Tauzin, R-La., chairman of the
House Energy and Commerce Committee, said Sunday that WorldCom documents
show that its accounting problems began in 2000 or earlier. They "reveal a strange
pattern of people inside the corporation discovering it, trying to do something about
it, and uitimately fatling until recently,” Tauzin said. His committee ts investigating
WorldCom.

WorldCom, teetering toward Chapter 11, has said fired CFO Scott Sullivan
improperly accounted for $3.9 billion in costs in 200% and the first quarter of 2002.
But Tauzin says Troy Normand, who worked in WorldCom's finance department,
told Sullivan that some accounting entrics in 2000 went beyond aggressive aud were
wrong. Normand considered resigning, but Sullivan reassured him that everything
was okay.

109. In late 3/03, it was disclosed that WorldCom's misstatements and the amount of its

restatement will total $11 billion.

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110. The fact that WorldCom has announced it will restate its financial statements is an
admission that the financial statements originally issued were false and that the overstatement of
income was material. Pursuant to GAAP, as set forth im Accounting Principles Board Opinion
("APB") No. 20, the type of restatement announced by WorldCom was to correct for material errors
in its previously issued financial statements. See APB No. 20, 9{7-13. The restatement of past
financial statements is a disfavored method of recognizing an accounting change as it dilutes
confidence by investors in the financial statements, it makes it difficult to compare financial
statements and it is often difficult, if not impossible, to generate lhe numbers when restatement
occurs. See APB No. 20, $14. Thus, GAAP provides that financial statements should only be
restated in limited circumstances, i.¢., when there is a change in the reporting entity, there is a change
in avcuunling yiinciples used oF to Cuuect an enor io prcvivusly issued Roauvial statements.
WorldCom's restatement was not die to a change in reporting entity or a change in accounting
principle, but rather to errors in previously issued financial statements. Thus the restatement is an
admission by WorldCom that its previously issued financial results and its public statements
regarding those results were materially false.

WorldCom's Excessive Acguisition Write-offs

111. During the time it was rapidly expanding in 97-00 by making acquisitions, WorldCom
consistently recorded excessive “one-time” write-offs and created excessive reserves in connection
with acquisitions, creating artificially inflated reserves which it then later used to secretly increase
reported opcrating earnings in later quarters by drawing down on and reducing those reserves or
write-offs. This artifice was deceptive because securities analysts and sophisticated investors expect
an acquiring company to establish and record large reserves or write-offs in connection with major
acquisitions and treat such items as non-recurring, and therefore they do not have a negative impact
onthe stock price. Thus, WorldCom was able to create and record excessive, unduly large write-offs
or reserves each time it did an acquisition without any adverse impact On its stock pnice. However,
WorldCom would then "draw down" on thesc excessive reserves in later quarters by reducing these

excessive reserves to boost reported operating results, without disclosing that it was doing this. This

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gave a misteading impression of the strength of WorldCom's operations and its ongoing eamings
power by artificially inflating its reported results.

112. These excess acquisition charges by WorldCom were most often characterized as "in
process research and development costs” or other merger-related costs for which write-offs were
overstated to create cxcess reserves which could later be pulled into revenue lo inflate operating
macome. The write-offs prior to the 8/98 offering included:

In Process Research

Acquisition & Development Other Charges
MEFS Comm/UUNet $2.14 billion $600 million
BRP $ 47 million
CompuServe $429 million

As Business Week noted, "Ebbers took huge write-offs associated with acquisitions, enabling him
to pump up future earnings.”

113. WorldCom also inflated its earings by improperly misclassifying assets in
connection with acquisitions, WorldCom acquired MCI in 9/98 in a transaction accounted for as a
purchase. As is customary in purchase accounting, ail MCI assets and liabilities were revalued at
the time of the acquisition to their fair market values and then combined with WorldCom's assets
and liabilities. WorldCom reduced the book value of MCI's property, plant, and equipment (PP&k)
by $3.4 billion to $10.7 billion from the pre-acquisition balance of $14.1 billion. But then goodwill
was commensurately increased by the $3.4 billion reduction in PP&E. This manipulation inflated
WorldCom's earnings during 99-01 since goodwill is amortized over a 40-year period as opposed
to an average of 4.3 years for PP&E. Thus, the shorter lived PP&E assets were ransmogrified into
much longer lived assets, artificially inflating WorldCom's subsequently reported earnings. This
manipulation increased WorldCom's 99, 60 and 01 annual earnings by $695 million annually by
reducing annual amortization/depreciation expense by that amount. As MSNBC reported on
7/1/02:

In its statement to the SEC, WorldCom said its audit committee was

reviewing financial records for 1999 through 2001 because questions were raised
about significant changes in reserves against potential financial losses.

* *

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Companies use reserve accounts to set aside revenue to be used against
predictable future costs, such as unpaid bills or pending lawsuits. Companies have
much jatitude to reduce or increase those reserves, but they are not supposed to do
it simply to make revenues look better.

One WorldCom reserve account that appeared to shrink substantially during
1999 and 2000 was the one it used to cover liahilities it would assume from the many
companies it was buying up. WorldCom added $2.81 billion to that accountng line
from 1998 to 2000, its annual filings with the SEC show.

WorldCom's Improper Capitalization of
Software Development Costs for Internal Use

114. WorldCom also improperly capitalized (recorded costs as an asset rather than as an
expense) certain interna] software development costs which did not qualify for capitalization
pursuant to GAAP.

115. GAAP, as set forth in FASB Interpretations No. 6, 98, states:

Costs incurred by an enterprise in developing computer software internally for use

in its research and development activities are research and development costs and,

therefore, shall be charged to expense when tcurred. This includes costs incurred

during all phases of software development because all of thosc cosis are incurred in

a rescarch and development activity.

(Footnote omitted.)

116. Contrary to GAAP and the doctrine of “fair presentation," in 00 WorldCom
capitalized $925 million in costs associated with developing internal usc software, which amounts
were excessive and improper. Had WorldCom properly recorded these costs as expenses, its
reported earnings would have been at Jeast 14% lower.

WorldCom's Improper Revenue Recognition

117. GAAP,as described by FASB Statement of Concepts No. 5, requires that revenue not
be recognized untess and until it has been both earned and is realizable.

118. Prior to the Offerings, WorldCom engaged in practices for which it could not
reasonably have expected to realize cash and for which it had not earned the revenue, thus violating
both required elements for revenue recognition under GAAP. WorldCom engaged in excessive

billing of other telecom companies for services and also in invoicing customers for services the

customers had not agreed to purchase, since the contract period had terminated. WorldCom would

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recognize revenue from these billing and invoicing improprieties even though it had neither earned
the revenue nor was entitled to payment for the billings.

119. WorldCom also improperly recognized revenue in connection with "take or pay”
contracts, whereby customers received a discount from WorldCom when they agreed to use a certain
volume of service over a certain time period. However, ifthe customer used less servicc, WorldCom
imposed a penalty on the customer. Customers were constantly using less than the specified amount,
yet WorldCom improperly recognized the penalties as income even though customers were refusing
to pay the penalties and WorldCom could not require them to pay. Such revenue recognition was
improper because WorldCom had no reasonable expectation that it would be paid for the penalties.

120. WorldCom also improperly "overbooked" sales and booked revenue it should not
have booked because of billing "mistakes." WorldCom classified as ponding payments revenues it
had no reason to believe it would collect because the bills had mistakes or customers had dropped
the service. As Bloomberg reported on 5/29/02:

After buying control of Embratel [a Brazilian long distance company] in July

1998 ... WorldCom instalicd a billing system for its 12 million customers separate

from that used by local phone service providers.
It was a disaster from the start. Bills arrived irrcgularly — some people waited
five or six months for details on what they owed - or in a format that confused

customers accustomed to receiving one monthly phone bill.

"Getting the bills separately is just too complicated,” [a iajor customer] said.
“We're not used to that.”

By the end of 2000, Embratel had racked up 3 billion reals in accounts
receivable, almost double what it was the previous year ..

Total accounts receivable jumped to 1.58 billion reals in 1999 from 1.02
billion reals at the end of 1998. With receivables now at 3.44 billion reals, Embratel
has reached an agreement to send its bills to customers with threc local operators.
These amounts were not recoverable. WorldCom now will sell Embrntel for a 90% discount to what
WorldCom paid for it in 98.
121. WorldCom also improperly recognized revenue through other various improper sales
manipulations, including: (a) switching customers' long distance service to WorldCom without

approval; (b) misrepresenting rates to customers, (c) recognizing revenue from cancelled accounts,

(d) back-dating contracts to recognize revenue at the end of a fiscal quarter; and (e) failing to

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properly account for contracts that had been negotiated or discounted. Each of these practices
artificially inflated WorldCom's reported revenues, profits and EPS by maternal amounts as included
in the Registration Statements.
WorldCom's Improper Accounting for Goodwill

122. WorldCom's financial statements were also false due to its failure to record
impairment in the value of goodwill on its balance shect. WorldCom has admitted it will have to
record charges of $15-$20 billion to write down overvalued goodwill on its balance sheet, and most
analysts now believe the actual charge will exceed $45 billion.

123. GAAP, as set forth in FASB Statement of Standards ("SFAS") No. 121, requires that
companies review long-lived assets. including goodwill, to determine if the assets are impaired.

SFAS No. 121, 115-6:

5. The following are examples of events or changes in circumstances that
indicate that the recoverability of the carrying amount of an asset shauld he assessed:
a. A Significant decrease in the market value of an assel.
b. A significant chauge in the extent or manner in which an assct is uscd

or a significant physical change in an asset.

c. A significant adverse change in legal factors or in the business
climate that could affect the value of an asset or an adverse action or
assessment by a regulator.

d. An accumulation of costs significantly in excess of the amount
originally expected to acquire or Construct al asset.

€. A current period operating or cash flow loss combined with a history
of operating or cash flow losses or 4 projection or forecast thut
demonstrates continuing losscs associated with an assct used for the
purpose of producing revenuc.

6. If the examples of events ar changes in circumstances set forth in paragraph
5 are present or if other events or changes in circumstances indicate that the carrying
amount of an asset that an entity expects to hold and use may not be recoverable, the
entity shall estimate the future cash flows expected to result from the use of the asset
and its eventual disposition. Future cash flows are the future cash inflows expected
to be generated by an asset less the future cash outflows expected to be necessary to
obtain those inflows. If the sum of the expected future cash flows (undiscounted and
without interest charges) is less than the carrying amount of the asset, the entity shall
recognize an impairment loss in accordance with this Statement. Otherwisc, an
impairment loss shall not be recognized; however, a review of depreciation policies
may be appropnate.

(Footnote omined.)

was revealed that the Si was mvvestigating WorldUom's accounting practices. Lhea, in 4/U2,

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WorldCom slashed its 02 revenues and carnings forecasts even further and analysts indicated that
WorldCom's asset write-downs due to the impaired value of its prior acquisitions would now exceed
$45 billion. In short order, WorldCom's credit rating was downgraded by the rating agencies to
"junk" status and the WorldCom Board was forced to oust Ebbers in an effort to save the Company's
ercdibility — allowing him to leave with a $408 maiilion loan from WorldCom and a dea) to be paid
$1.5 million a year for as long as he lives.

128. On 6/25/02, WorldCom admitted it engaged in one of the largest financial frauds in
history - overstating $3.8 billion in earnings in 0] and the 1stQ 02 by improperly capitalizing normal
operating expenses. Instead of a profit for 01, WorkiCom suffered a loss. Later WorldCom admitted
the improprieties were not only occurring in 01 and 02, but also in 00 and before. Both Congress
and the SEC are investigating WorldCom's financial diyclosures madc during 00. Meanwhile, bonds
sold to investors as "investment grade” in 5/01 were “junk” !2 months later and are now trading for
$0,15-S0.20 on the dovar.

129. During 96-99, WorldCom made several large acquisitions, resulting in billions of
dollars of goodwill going on to its balance sheet as an asset. In 96, WorldCom acquired MFS
Communications in a $14 billion deal that provided WorldCom with its Internet data business.
WorldCom also acquired long-distance company MCI for $40 billion, and other companies (Brooks
Fiber, CompuServe) for billions more. However, by 5/00, WorldCom's telecom business assets —
acquired by WorldCom in 96-00 — were actually worth billions of dollars less than what was being
reported by Woridom on its balance sheet. As a result, at the time of the 5/00 offering und the 5/01
offering, the tme value of WorldCom's assets was billions of dollars less than reported by WorldCom
in its financial reports — assets WorldCom admitted it would write down dy at least 520 billion in
less than a year. Even assuming WorldCom had recognized only 25% of those goodwill write-
downs in 3/01 and only 50% of those goodwill write-downs in 5/0], the impact on WorldCom's

financial statements would have been of enormous significance, as the graphs below show:

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In thousands

 

WorldCom, Inc.
Goodwill & Intangibles

     

 

$47,000,000 -

 

$44,000,000 ~

$41,000,000 +

 

 

03/31/00

 

AS reported
With Wittedown of Goodwill Aecomted

 

 

 

{fn thousands

 

WoridCon, Inc.
Total Assets

 

 

 

 

 

 

 

04/31/01

 

As roporied
ad wen Writedowm of Goodwill Recorded

 

 

 

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WorkdGom, Inc.
Shareholders’ Equity

 

$55,000,000

 

 

In thousands

$49,000,000 J

 

 

 

03/31/00 12/3100

=~ |

 

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130. WorldCom did not write down the value of its assets (goodwill) associated with its
acquisitions prior to the 5/00 and 5/01 offerings because had it done so these write-downs would
have placed WorldCom in violation of, or on the verge of being in violation of, its Joan net worth
covenants in its $12 billion commercial paper back-up credit facilities. A write-down of
WorldCom's overvalucd assets prior to 5/00 and 5/01 would have also vastly reduced WorldCom's
shercholdcr equity and placed it in violation of other debt covenants. These would have been
material adverse facts that would have had to have been disclosed in connection with the 5/01
offering and would likely have resulted in WorldCom's credit rating being downgraded below
“investment grade" and would have made the 5/01 offering impossible.

131. WorldCom's overstated revenues and earnings also materially misstated its financial
position in the Registration Statemeats. WortdCom’s reported ratio of earnings to fixed charges was
acrucial figure for investors in WorldCom Bonds to evaluate the safety of the investment. This ratio
ddivatcs (he Company's ability tw wicci its imerest payments from onguing earnings and together
with a corporation's assets and shareholder equity is perhaps the most important financial
information in a debt sale. A higher ratio indicates an increased ability to make interest payments,

and hence a higher margin of safety for investors. WorldCom reported a ratio of carnings to fixed

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charges of 7.01 to 1 for 3/31/00 in the 5/00 Registration Statement and 5.25 to 1 for 00 in the 5/0]
Registration Statement, consistent with WorldCom's investment-grade credit rating. In fact, these
ratios were highly inflated and misleading as to the true nature of the risk involved in purchasing
WorldCom Bonds. Absent the acemunting manipulations described herein, these ratios of camings
to fixed charges would have been much lower, and would have exposed the true high risk involved
in purchasing these bonds. Had WorldCom properly expensed the $925 mithon in software
development cosis for internal use it incurred during 00, as required by GAAP or the doctrine of
"fair presentation," rather than capitalizing it as an asset, and had WorldCom recorded just $5
billion of the $20 billion (25% of the amount required) impairment in goodwill which it should
have recorded during 00, WorldCom's ratio of earnings to fixed charges in the Registration
Statements would have been anly 1.67 to 1 for 00 — a reduction of 68%. This does not even
include WorldCom's other accounting falsifications, including recording excessive merger
charges, misclassifying assets, improper caplalization of normal operating expenses, and
improper revenue recognition. Had WorldCom recorded $10 billion of goodwill impairment in
00 (50% of the required amount) WorldCom would have had no earnings for OO! Note the

 

 

 

 

 

following:
WorldCom
Ratio of earnings to fixed charges
(In Millions}
2000
As reported With Required Acctg
Adjustments
Pre-tax eamings 37,568 $1,643
Fixed charges, net of capitalized interest $1,120 $1,120
Eamings $8,688 $2,763
Fixed Charges
Interest Cast $1,480 $1,480
Amortization of Financing Costs $26 $28
Interest Factor on Rent Expense $149 $149
Fixed Charges / $1,655 $1,655
Ratio of Eamings to Fixed Charges 5.25 1.67

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132. Due to these accounting improprieties, the Company presented its financial results
and statements in a manner which violated GAAP, including the following fundamenwl accounting
principles:

(a) The principle that interim financial reporting should be hased upon the same
accounting principles and practices used to prepare annual financial statements was violated (APB
No. 28, ¥10);

(b) The principle that financial reporting should provide information that is useful
to present and potential investors and creditors und other users in making rational investment, credit
and similar decisions was violated (FASB Statement of Concepts No. 1, 434);

(c) The principle that financial reporting should provide information about the
economic resources of an enterprise, tbe claims to those resources, and effects of transactions, events
and circumstances that change resources and claims lo those resourees was violated (FASB
Statement of Concepts No. 1, 440);

(d) | The principle that financial reporting should provide information about how
management of an enterprise has discharged its stewardship responsibility to owners (stockholders)
for the use of enterprise resources entrusted to it was violated. To the extent that management offers
securities of the enterprise to the public, it voluntarily accepts wider responsibilities for
accountability to prospective investors and to the public in general (FASB Statement of Concepts
No. 1, (50);

(¢) The principle that financial reporting should provide information about an
enterprise's financial performance during a period was violated. Investors and creditors often use
information about the past to help in assessing the prospects of an enterprise. Thus, although
investment and credit decisions reflect investors’ expectations about future enterprise performance,
those expectations are commonly based at Jeast partly on evaluations of past ¢nterprise performance
(FASB Statement of Concepts No. 1, $42);

(f) The principle that financial reporting should be reliable in that it represents
what it purports to represent was violated. Thal information should be reliable as well as relevant

is a notion that is central to accounting (FASB Statement of Concepts No. 2, 9458-59);

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(g} The principle of completeness, which means that nothing is left out of the
information that may be necessary to insure that it validly represents underlying events and
conditions was violated (FASB Statement of Concepts No, 2,979); and

(h) The principic that conservatism be used as a prudent reaction to uncertainty
to try to ensure that uncertainties and risks inherent in business situations are adequately considered
was violated. ‘he best way lo avoid injury to investors is to try to ensure that what is reported
represents what it purports to represent (FASB Statement of Concepts No. 2, {§95, 97).

OTHER FALSE STATEMENTS IN REGISTRATION STATEMENTS

133. The Registration Statements/Prospectuses for the Offerings included or incorporated
by reference additional false and misleading narrative statements.
The 8/98 Offering

134. The narrative statements incorporated in the 8/98 Registration Statement concerning
WorldCom's business and recent results were also false and misleading. The 2ndQ 98 results were
overstated in terms of revenue, net income and EPS as well as WorldCom's assets, for the reasons
stated herein regarding WorldCom's falsification of its financial statements. Thus, claims that the
2ndQ 98 operating income improvement was duc to "cost savings” was false as the 2ndQ 98 results
were the effects of financial manipulation, not the actual performance or strength of WorldCom's
business.

The 5/00 Offering
135. Inaddition, the statements in the 5/00 Registration Statement that made it appear thal

the acquisition of Sprint would likely be successful were false.

136. Infact, the Sprint merger faced significant regulatory hurdles and its consummation
was highly suspect. WorldCom's stock had appreciated significantly on the news and would decline
if the merger was blocked. The decline in WorldCom's stock price would make (and did make) the
Company's debt securities less atmractive.

137. The S/O) Registration Statement also omitted the $679 million Ebbers' holding
company (Joshua Timberlands) had borrowed from Travelers Insurance (a subsidiary of CitiGroup)

which was secured by his WorldCom stock.

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The 5/01 Offering

138. The narrative statements in the 5/0! Registration Statement concerning WorldCom's
business and recent results were also false and misleading. The 1stQ 01 results were overstated in
terms of revenue, net incame and EPS as well as WorldCom's assets, for al] of the reasons stated
herein regarding WorldCom's falsification of its financial statements. Thus, claims that the lstQ 01
resulis were "an excellent start” or that WorldCom was "on track” to deliver “strong growth and
solid performance throughout the year" were false as the 1stQ 01 results were the effects of
financial manipulation, not the actual performance or strength of WorldCom's business. Tho
statements regarding the progress made regarding the MCI group were also false as that part of
WorldCom's business was performing horribly, and contained billions and billions of dollars of
overstated assets which, if properly valued or wntten off, would have shown in fact that the MCI part
of WorldCom's business was suffering huge losses.

139, In addition, the statement in the 5/01 Registration Statement that WorldCom was
“positioned to use" its “global assets and ... customer base" to lead a new generation of fast growing
e-commerce and data-driven segments in the communications industries was false. In fact,
WorldCom's business was imploding at the time of the $/01 Registration Statement and the only way
this could be concealed was to falsify WorldCom's financial statements and make these types of false
statements about WorldCom's business. Also, the statement that the "breadth and scale" of
WorldCom's services differentiated WorldCom from its competitors was also false as nothing that
WorldCom was offering to the marketplace was unique. All of its products and services were
nothing more than commuodity-type services, the profitability of which was being increasingly
destroyed by intensive, if not uncontrolled, price competition. As a result, claims in statements that
WorldCom was "well positioned to capitalize on growth opportunities" were also false as in fact
WorldCom's business had no growth opportunities left. WorldCom was compcting now in a
sluiukiny universe of business, declining reveuues, aud sluinkiug profit maigins which would, in
short order, bring the business to the brink of bankruptcy.

140. The statement in the 5/01 Registration Statement that WorldCom believed “our sales

and marketing capabilities are one of our strongest competitive advantages” was also false.

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WorldCom's sales and marketing capabilities were the result of dishonest practices in violation of
both federal and state laws. Despite repeated warnings from regulators and, indeed, enforcement
actions, WorldCom was consistendy engaging in disreputabic, it not unlawful, practices to obtain
and retain customer accounts, thus artificially boosting its customer accounts, revenues and reported
income.

141.  CitiGroup's loans to Ebbets’ entity, Joshua Tieberlauds, ad increased to $679
million. Despite the fact that CitiGroup was the lead underwnsiter of this offering, this fact was not
disclosed.

142. The statement in the 5/01 Registration Statement that WortdCom had taken a $685
million charge in the 3rdQ 00 for specific accounts “that were no Jonger deemed collectible due to
bankruptcies. fitigation and settlements of contractual disputes that occurred in the third quarter
of 2000" was false. Hundreds of millions of dollars of these charges were due to the correction of
a myriad of unsavory and improper practices that WorldCom's MCI unit had utilized to artificially
inflate its revenues and camings for several years (95-Q0) and which MCI and WorldCom had
concealed, falsifying its 98 and 99 annual results and 00 quarterly financial results. These ploys —
mainly used to avoid recognizing uncollectible accounts receivable generated by phony revenue
transactions — included: (i) turning long overdue customer accounts receivable into "new" promissory
notes and treating them as current; (il) "place holder credits" by which overdue accounts receivable
were credited even though no payment had been received; (iii) phony factoring of receivables to
make them appcar to have been paid or guaranteed by a factor when in tact MCI secretly guaranteed
the factor against loss; and (iv) not recording in a timely manner hundreds of millions of dollars of
over-charges on or refunds due to customers. ,

143. Had WorldCom's 5/0] Registration Statement revealed these true facts, it would have
been appzrent to investors that WorldCom had been falsifying its financial statements for years
rather than suffering write-downs due to very recent events, all of which had just occurred in one
quarter, i.e., the 3rdQ 00. In addition, the statement regarding the $685 million charge was false in
making it appear that WorldCom had “cleaned up" ils accounts receivable and that it no longer had

any matcrial amount of uncollectible accounts receivable. In fact, WorldCom still had hundreds of

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millions of dollars of uncollectible accounts receivable, especially in its wireless resale business, a
line of business which was losing huge amounts, in large part because it was selling to
uncreditworthy and unsuccessful wireless communications entities which were unable to pay
WorldCom - a situation so serious that WorldCom could not even sell this business off but would
have to simply abandon il, something Ebbers’ successor jusl recenlly announced WorldCom would
do.

144. The Wall Street Journal notcd on 5/1/02:

WorldCom's Bonds: Worst Ever? ~ Investors Unload in Response to CEO Ebbers's
Departure; Corporate Debt Prices Suffer

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In May 2001, when WorldCom sold a record $11.8 billion of bonds, investors
clamored to get their hands on therm.

Now, they're scrambling to get out.

in what will likely go down as the worst bond deal in history, WorldCom's
bonds are now trading at about half their original value, meaning investers have
fost almost $6 billion in Just under a year — a stunning decline for investment-
grade-rated bonds, normally among the safest bets investors can make.

Another article in The Wall Street Journal on 3/1/02 stated:

The SEC investigation poses another wild card in WorldCom's restructuring
prospects. In addition to Mr. Ebbers's loan, the SEC is looking into how WorldCom
booked sales, classified the assets of companies it acquired, and accounted for debts
it couldn't collect. The SEC has declined to comment about its investigation, but the
seven-page list of documents and information it has requested from WorldCom show
the agency is questioning whethcr some of the company's once-stellar growth was
partly an illusion created by aggressive accounting.

The SEC is also closely examining the way the company accounted for
goodwill, or intangible assets such as an acquired company's reputation, brand name
and earnings potential. And it is probing whether WorldCom booked revenue it
shouldn't bave or classified as pending payments it had reason to believe it wouldn't
collect because the bills were mistaken or customers had dropped the service,
according to the agency's letter lo the company. Among the SEC's requests: any
‘documents since 1999 relating to disputed customer billings, cancejed accounts, and
complaints about excessive bills.

The agency also wants information from the past two years relating to

"disputed sales commissions,” "inflated sales commissions,” and "over-booking of
sales," the letter says.

Another article in The Wall Street Journal on 5/16/02 stated:
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On Feb. 4, WorldCom Inc. senior vice president Deborah Surrette sent an e-
mai! tclling the company's employees that some of the colleagues had been scamuning
the company by double-booking accounts. “My staff has discovered several
situations where new accounts have been created in different or same billing
platforms forexisting customers," her e-mail said. “Commissions,” she added would
"not be paid on the movement of existing services ... or creation of new accounts
with no added act revenue.”

* * *

The double-booked sales are just one part of the SEC investigation, and the
moncy involved is small change for WorldCom, which had revenue of $35.18 billion
in 2001. Still, the sales abuses ilustrate how the company's struggles to meet Wall
Street's optimistic expectations while integrating its $37 billion purchase of the
former MCT Communications Corp. led to an aggressive corporate culture typified
by salespeople eager to make their numbers by any means necessary. “Jt was really
anumbers game with WorldCom," says former employee Hank Larkins, who ran the
company's human-resources operations in Ohio. “And people would do anything
they could to make those numbers."

Current and former WorldCom employees say the problems began with
WorldCom's 1998 acquisition of MCL Following that deal, Mr. Ebbers and other
WorldCom executives surprised many employees by maintaining both companies’
ordering and billing systems: the [XPlus system that had been used by WorldCom
and the F&E system that had been used by MC}, That opened the door to what
current and former employees describe as a widespread pattern of sales abuses. “It
was the Wild, Wild West, with no sheriff and no rules," says a veteran sales
representative in the Pentagon City office.

¥ * *

Several employees say they tried to alert upper management to the sales
abuses. In February 2000, Mr. Larkins sent a memo detailing the problem to his
supervisor in Chicago. She forwarded the e-mail to other executives, but higher-ups
told her to drop the matter because it wasn't a human-resources issue, Mr. Larkins
recalls. "Nobody wanted to hear about it," he says.

145. Later, on 9/26/02, WorldCom's former controller pled guilty to securities violations,
indicating he had been instructed on a quarterly basis by senior management to falsify WorldCom's
financial statements. In 3/03, news reports indicated that the amount of the accounting
misstaternents from 99-02 will total $11 billion.

The Underwriters’ "Spinning Activities"

146. The 8/98, 5/00 and 5/01] Prospectuses/Registration Statements wer also misleading

in that each failed to disclosé the "spinning" practices certain of the underwritcrs had engaped in to

win the right to underwrite the Offerings and receive the enormous underwriting fees alleged herein.

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147. "Spinning" refers to a practice by a Wall Street firm of doling out IPO shares in new
companies to corporate executives of existing corporations in exchange for lucrative investment
banking business from the executives’ corporations. As Washington Post staff writer Ben White
wrote on 9/26/02:

In remarks al a conference of pension-fund managers on Tuesday, Spitzer said
IPO spinning amounted to "commercial bribery.” He said fund managers should
pressure the companies they hold in their portfolios to force execulives to give back
profits they made selling IPO shares.

Spinning also ernerged as an issue in Congress last month when documents
released by the House Financial Services Committee showed that the former chief
executive of WorldCom Inc., Bernard J. Ebbers, made nearly $11 million from initial

blic offerings by selling shares, mainty in hot technology stocks, awarded to him
by Salomon Brothers and its successor firm, Salomon Smith Bamey. During the
same period Ebbers received the shares, WorldCom was paying Salomon hundreds
of millions of dollars in investment-banking fees.

The documents also showed that Salomon brokers sought to award tens of
thousands of IPO shares to other favored telecommunications executives. It is not
clear whether many of these executives actually received the shares. Salomon was
the leading banker for telccom firms in the late 1990s.

148. In the summer of 02, Congressional investigators learned that CitiGroup had given
Ebbers "hot" IPO shares, allowing him to pocket $11 million in risk-free profits. CitiGroup received
lead roles in WorldCom's note offerings in exchange for this bribe to Ebhers.

149. Nevertheless, the Company did not describe this quid pro quo in the Registration
Statements when discussing its underwriting agreements. The various Registration Statements stated
only that:

. 8/98:

The Underwriters and certain of their affiliates and associates may be
customers of, have lending relationships with, engage in transactions with, and/or
rform services, including investment banking and commercial banking services,
for, the Company and its affiliates in the ordinary course of business. Salomon
Brothers Inc has acted as financial advisor to Worldcom in connection with the
MCI/WorldCom Merger, for which it has received certain fees and for which it
expects to receive additional fees upon the closing of the MCI/Worldcom Merger.
Additionally, Salomon Brothers Holding Company Inc, Credit Suisse First Boston,
Lehman Commercial Paper Inc., The Chase Manhattan Bank, Morgan Guaranty Trust
Company of New York, and NationsBank of Texas, N.A., affiliates of Salomon
Brothers Inc., Credit Suisse First Boston Corporation, Lehman Brothers, Inc., Chase
Securities Inc., J.P. Morgan Securities Inc., and NationsBanc Montgomery Securities
LLC, respectively, are lenders under the New Credit Facilities. In addition, Salomon
Brothers Inc wil} receive a financial advisory fee.

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* 5/00:

The underwriters and their affiliates have performed certain investment
banking and advisory and general financing and banking services for us from time
to time tor which they have received customary fees and expenses. The underwriters
and their affiliates may, from time to time, be customers of, engage in transactions
with and perform services for us in the ordinary course of their business. Salomon
Smith Bamey Inc. has acted as financial advisor to WorldCom in connection with the
Sprint merger, for which it has received certain fees and for which it expects to
receive additional fees upon the closing of the Sprint merger. In addition, Salomon
Smith Barney Inc. will receive a financial advisory fee in connection with this
offering.

° 5/01:

The underwriters and their affiliates have performed certain investment
banking, advisory and general financing and banking services for us from time to
time for which they have received customary fees and expenses. The underwniters
and their affiliates may, from time to time, be customers of, engage in transactions
with and perform services for us in the ordinary coursc of their business. Certain of
the underwriters and their affiliates have in the past and may in the future act as
tenders in connection with our credii facilitics.
150. The omission of the millions of dollars Ebbers and other WorldCom cxecutives
received from the banks, including CitiGroup, through hot IPO allocations in exchange for
" investment banking business made the Registration Statements falsc and misleading.
FIRST CAUSE OF ACTION

For Violation of $11 of the 1933 Act
Against All Defendants

151. Plaintiff incorporates and realleges each and every allegation contained in the
foregoing paragraphs as if fully set forth herein.

152. Plaintiff asserts only strict liability and negligence claims. Plaintiff does nor assert
claims of fraud or intentional misconduct.

153. Andersen consented to the inclusion of its opinion on WorldCom's 98, 99 and 00
financial statements in the Registration Statements and Prospectuses and reviewed and approved the
3/31/00 and 3/31/01 financial results in the Registration Statements.

154 = The Underwriter Defendants sald the WorldCom Bonds in the Offerings as defined
in §11(a){5) of the 1933 Act. The Underwriter Defendants were, therefore, responsible for the
contents of the Registration Statements.

155. The following Underwriter Defendants underwrote the Offerings as indicated below:

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Offering Underwriters

8/98 CitiGroup, Credit Suisse, J.P.
Morgan, Lehman Brothers,
NationsBanc

5/00 Bank America, CitiGroup, Credit

Suisse, Deutsche Bank, Goldman
Sachs, Lehman Brothers, J.P.
Morgan, UBS Warburg

5/01 ABN AMRO, Bank America,
Mogan Deutsche Bank, J.P.

156. © Each of the defendants owed to the purchasers of the WorldCom Bonds, including
plaintiff, the duty to make a reasonable and diligent investigation of the statements contained in the
Registration Statements at the time they became effective, to ensure that they were true and that there
was no omission to stale a material fact required to be stated in order to muke the statements
contained therein not misleading. In the exercise of reasonable care, defendants knew or should have
known of the material misstatements and omissions contained in the Registration Statements.

157. To protect their own financial position and avoid having WorldCom draw down on
its $12 billion commercial paper back-up facility with them, and to get their share of $115 million
in underwriting fecs, the banks were willing to merchandise the WorldCou Bunds in the Offerings.
The Underwriter Defendants arranged a multi-city Roadshow prior to the Offerings during which
they, and certain of the WorldCom management, including Ebbers, met with potential investors and
moncy managers and presented highly favorable infonmation about the Company, including forecasts
of strong revenue and profit growth for WorldCom. To further insulate themselves from financial
exposure for helping to sell the WorldCom Bonds, the Underwriter Defendants also demanded.and
obtained an agreement from WorldCom that it would indemnify and hold the Underwriter
Defendants harmless from any liability for violations of the 1933 Act, Which agreement was in
violation of law and public policy. The banks also made sure that WorldCom had purchased

millions of dollars in directors’ and officers’ liability insurance to protect the banks from liability in

connection with the Offerings.

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158. None of the defendants named in this Cause of Action made a reasonable
investigation or possessed reasonable grounds for the belief that the statements contained in the
Registration Statements were true and did not omit any material facts and were not misleading.

159. The defendants caused to be issued and participated in the issuance of materially false
and misleading statements in the Registration Statements and Prospectuses, which misrepresented
or failed to disclose. inter alia, the adverse facts sct forth above. Thus, defendants violated §11 of
the 1933 Act.

160. Plaintiff purchased WorldCom Bonds traceable to the false and misleading
Registration Statements without knowledge of the untruths or omissions alleged herein. Plaintiff
could not have reasonably discovered the nature of these untruths and omissions, and relied either
directly or indirectly on the false and misleading Registration Statements im making its purchases of

WorldCom Bonds.

161. Asarecsult of its purchases of the WorldCom Bonds, plasnuff has suffcred damages.
162. This action was brought within two years after the discovery of the untrue statements
and omissions and within five years after the Offerings themselves took place.
SECOND CAUSE OF ACTION

For Violation of §12(a)(2) of the 1933 Act
Against J.P. Morgan

163. Plaintiff incorporates and realleges each and every allegation contained in the
foregoing paragraphs as if fully set forth herein.

164. Plaintiff asserts only strict liability and negli gence claims. Plaintiff does mor assert
claims of fraud or intentional misconduct,

165. Plaintiff purchased WorldCom debt in the 12/00 offermg from J.P. Morgan.

166. By means of the detective Offering Memorandum, J.P. Morgan sold the 7.375%
WorldCom bonds which plaintiff purchased.

167. The Offcring Memorandum contained untrve statements of material fact, and
concealed and failed to disclose material facts, as detailed above. These defcndants owed plaintiff

the duty to make a reasonable and diligent investigation of the statements contained in the Offering

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Memorandum to ensure that such statements were true and that there was no omission to state a
material fact required to be stated in order to make the statements contained therein not misleading.
Defendants, in the exercise of reasonable care, should have known of the misstatements and
omissions contained in the Offering Memorandum as set forth above.

168. None of the defendants named in this Cause of Action made a reasonable
investigation or possessed reasonable gvounds for the belief that the statements contaiocd in the
Offering Memorandum were truce and did not omit any material facts and were not misleading.

169. Plaintiff did not know, nor in the exercise of reasonable diligence could have known,
of the untruths and omissions contained in the Offering Memorandum at the time it acquired the
WorldCom debt.

170. By reason of the conduct alleged herein, these defendants violated §12(a)(2) of the
1933 Act. As a direct and proximate result of such violations, plaintiff sustained substantial
damages in connection with its purchases of WorldCom debt.

171. This action was brought within two ycars after the discovery of the nntrue statements
and omissions and within five years after the offcring cook place.

PRAYER FOR RELIEF

WHEREFORE, plaintiff prays for judgment as follows:

A Awarding plaintiff rescission or damages;

B. Awarding plaintiff pre-judgment and post-judgment interest. as well as reasonable
allormeys’ fees, expert witness fees and other costs;

c. Awarding plaintiff such equitable relief, including preliminary and/or permancnt
injunctive relief, to freeze or prevent the disposition of the assets of the defendants as necessary to
preserve and protect plaintiff's rights to recover; and

D. Awarding such other legal or equitable relief as this Court may deem just and proper,

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PLAINTIFF DEMANDS A TRIAL BY JURY.

DATED: June/f, 2003

 

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